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 1                                                        THE HONORABLE THOMAS S. ZILLY

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 5
                                    U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                      NO. 2:17-cv-01731-TSZ
 9                            Plaintiff,
                                                        DECLARATION OF J. CURTIS
                                                        EDMONDSON IN SUPPORT OF
10          vs.
                                                        DEFENDANT’S MOTION TO
11                                                      COMPEL PRODUCTION OF
     JOHN DOE, subscriber assigned IP
                                                        SOFTWARE OR EXCLUDE EXPERT
12   address 73.225.38.130,
                                                        AND LAY TESTIMONY WHICH
                              Defendant.                DEPENDS ON ITS RELABILITY
13

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,
16                            Counterclaimant,
17
            vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                              Counterdefendant.
20

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22

23          I, J. Curtis Edmondson, hereby declare under the penalty of perjury under the laws of the

24   United States of America, the following:

25          1.     I am counsel of record in this case. I am a member of the bar of this Court and a

26   member of the Patent Bar. I respectfully submit this declaration in support of Defendant’s

27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S MOTION TO COMPEL
     PRODUCTION OF SOFTWARE OR EXCLUDE EXPERT
     AND LAY TESTIMONY WHICH DEPENDS ON ITS
                                                                    TERRELL MARSHALL LAW GROUP PLLC
     RELABILITY - 1                                                       936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                          Seattle, Washington 98103-8869
                                                                       TEL. 206.816.6603  FAX 206.319.5450
                                                                              www.terrellmarshall.com
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 1   Motion to Compel Production of Software or Exclude Expert and Lay Testimony Which
 2   Depends on its Reliability in the above-captioned matter. I have personal knowledge of the facts
 3   set forth in this declaration and could testify competently to them if called upon to do so.
 4            2.     Along with co-counsel, Adrienne McEntee, on March 7, 2019, I conferred with
 5   Mr. Bandlow and Mr. Case about Strike 3’s responses in Exhibit 1 below.
 6            3.     Attached hereto as Exhibit 1 is a true and correct copy of Plaintiff’s Objections
 7   and Responses to Defendant’s Requests for Production of Documents.
 8            4.     Attached hereto as Exhibit 2 is a true and correct copy of the Expert Report of
 9   Stephen Bunting dated December 21, 2018. This was produced by the Plaintiffs as BATES
10   00155-165.
11            5.     Attached hereto as Exhibit 3 is a true and correct copy of the Declaration of
12   Patrick Paige dated November 11, 2013, this was produced by the Plaintiffs as BATES 00166-
13   00169.
14            6.     Attached hereto as Exhibit 4 is a true and correct copy of the Expert Report of
15   Patrick Paige dated August 19, 2016, this was produced by the Plaintiffs as BATES 00171-
16   00180.
17            7.     Attached hereto as Exhibit 5 is a true and correct copy of the Expert Disclosures
18   served on March 15, 2019, by Counsel for Strike 3 Holdings, LLC.
19            8.     Attached hereto as Exhibit 6 is a true and correct copy of the Expert Report served
20   on March 15, 2019, by Patrick Paige served by counsel for Strike 3 Holdings, LLC.
21            9.     Attached hereto as Exhibit 7 is a true and correct copy of the Expert Report served
22   on March 15, 2019, by Stephen Bunting served by counsel for Strike 3 Holdings, LLC.
23            I declare under penalty of perjury under the laws of the United States that the foregoing
24   is true and correct.
25

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27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S MOTION TO COMPEL
     PRODUCTION OF SOFTWARE OR EXCLUDE EXPERT
     AND LAY TESTIMONY WHICH DEPENDS ON ITS
                                                                      TERRELL MARSHALL LAW GROUP PLLC
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                                                                                www.terrellmarshall.com
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 1        EXECUTED this 4th day of April, 2019, at Hillsboro, Oregon.
 2

 3                                              /s/ J. Curtis Edmondson, WSBA #43795
                                              J. Curtis Edmondson, WSBA #43795
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27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S MOTION TO COMPEL
     PRODUCTION OF SOFTWARE OR EXCLUDE EXPERT
     AND LAY TESTIMONY WHICH DEPENDS ON ITS
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     RELABILITY - 3                                                 936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                    Seattle, Washington 98103-8869
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 1                                    CERTIFICATE OF SERVICE

 2          I, Adrienne D. McEntee, hereby certify that on April 4, 2019, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 4   such filing to the following:
 5
                    Bryan J. Case, WSBA #41781
 6                  Email: bcase@foxrothschild.com
                    FOX ROTHSCHILD LLP
 7                  1001 Fourth Avenue, Suite 4500
                    Seattle, Washington 98154
 8
                    Telephone: (206) 624-3600
 9                  Facsimile: (206) 389-1708

10                  Lincoln D. Bandlow, Admitted Pro Hac Vice
                    Email: lbandlow@foxrothschild.com
11                  FOX ROTHSCHILD LLP
                    10250 Constellation Blvd., Suite 900
12
                    Los Angeles California 90067
13                  Telephone: (310) 598-4150
                    Facsimile: (310) 556-9828
14
                    Attorneys for Plaintiff
15
                    Joshua L. Turnham, WSBA #49926
16
                    E-mail: joshua@turnhamlaw.com
17                  THE LAW OFFICE OF JOSHUA L. TURNHAM PLLC
                    1001 4th Avenue, Suite 3200
18                  Seattle, Washington 98154
                    Telephone: (206) 395-9267
19                  Facsimile: (206) 905-2996
20
                    Attorneys for Non-Party Donald Isaksen, Jr.
21

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27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S MOTION TO COMPEL
     PRODUCTION OF SOFTWARE OR EXCLUDE EXPERT
     AND LAY TESTIMONY WHICH DEPENDS ON ITS
                                                                    TERRELL MARSHALL LAW GROUP PLLC
     RELABILITY - 4                                                        936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                           Seattle, Washington 98103-8869
                                                                        TEL. 206.816.6603  FAX 206.319.5450
                                                                               www.terrellmarshall.com
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 1        DATED this 4th day of April, 2019.

 2                                        TERRELL MARSHALL LAW GROUP PLLC
 3
                                          By: /s/ Adrienne D. McEntee, WSBA #34061
 4
                                            Adrienne D. McEntee, WSBA 34061
 5                                          Email: amcentee@terrellmarshall.com
                                            936 North 34th Street, Suite 300
 6                                          Seattle, Washington 98103-8869
                                            Telephone: (206) 816-6603
 7                                          Facsimile: (206) 319-5450
 8
                                          Attorneys for Defendant
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27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S MOTION TO COMPEL
     PRODUCTION OF SOFTWARE OR EXCLUDE EXPERT
     AND LAY TESTIMONY WHICH DEPENDS ON ITS
                                                             TERRELL MARSHALL LAW GROUP PLLC
     RELABILITY - 5                                                    936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                       Seattle, Washington 98103-8869
                                                                    TEL. 206.816.6603  FAX 206.319.5450
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        — EXHIBIT 1 —
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 7                                UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
 9 STRIKE 3 HOLDINGS, LLC, a Delaware                     Case No.: 2:17-cv-01731-TSZ
   corporation,
10                                                        PLAINTIFF’S OBJECTIONS AND
                     Plaintiff,                           RESPONSES TO DEFENDANT’S
11                                                        REQUESTS FOR PRODUCTION OF
   vs.                                                    DOCUMENTS
12
   JOHN DOE subscriber assigned IP address
13 73.225.38.130,

14                           Defendant.
15

16           Pursuant to Fed. R. Civ. P. 34, Plaintiff Strike Three Holdings, LLC (“Plaintiff”) hereby

17 responds and objects to the First Request for Production of Documents propounded by

18 Defendant John Doe, subscriber assigned IP address 73.225.38.130 (“Defendant”) as follows:

19                                   PRELIMINARY STATEMENT

20           1.      Plaintiff’s responses to these Requests are based on its current knowledge,

21 information, and belief. As Plaintiff is still in the initial stages of discovery, additional

22 knowledge of facts and information may result from further discovery or investigation. It is

23 possible that there are additional facts which Plaintiff has been unable to determine and

24 additional documents which Plaintiff has been unable to locate despite diligent efforts, and

25 Plaintiff anticipates that additional facts may be determined and that additional documents may

26 be located through further discovery, investigation and research. Such discovery efforts are

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                   FOX ROTHSCHILD LLP
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      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                        Seattle, WA 98154
                                                                                        (206) 624-3600
                                                      1

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 1 ongoing. Accordingly, Plaintiff reserves the right to identify additional facts and documents, as

 2 well as the right to amend or supplement its responses to these Requests as this case progresses.

 3           2.      By responding to these Requests, Plaintiff neither waives nor intends to waive,

 4 and in fact expressly reserves all objections, including: (1) all objections as to competency,

 5 relevancy, materiality and admissibility; (2) all objections as to vagueness, ambiguity and undue

 6 burden; (3) all rights to object on any ground to the use of any of these answers, or the subject

 7 matter thereof in any subsequent proceeding or at trial of this case; and (4) all rights to object on

 8 any ground to any request for further answers to these or any other discovery requests.

 9           3.      This response is made by Plaintiff subject to and without waiving, but on the

10 contrary reserving, Plaintiff’s right to object to other discovery procedures relating to the

11 subject matter of the Requests. Further, information and documents agreed to be produced is

12 being produced subject to Plaintiff’s right to object to the introduction of such information or

13 document at any hearing or at the trial of this matter. The fact that Plaintiff may agree to

14 produce responsive documents that can be located after a reasonable search should not be taken

15 as an admission that any such documents exist. The fact that Plaintiff has responded to part or

16 all of any Request is not intended to be, and shall not be construed to be, a waiver by Plaintiff of

17 any objection to any Request.

18                                      GENERAL OBJECTIONS

19           1.      The following General Objections and the above Preliminary Statement are

20 deemed incorporated into Plaintiff’s responses to each Request for Production below. They are

21 set forth here to avoid the unnecessary repetition of restating them for each individual answer.

22 Failure to specifically incorporate a General Objection shall not be construed as a waiver of it

23 with respect to any specific Request.

24           2.      Plaintiff objects to each Request to the extent that it calls for the production of

25 information or documents by Plaintiff which are not in Plaintiff’s custody, possession or

26 control. Specifically, Plaintiff objects to Defendant’s definitions of “Strike 3 Holdings, LLC,”

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 1 “You,” and “Your” insofar as they purport to require Plaintiff to produce information in the

 2 hands of third parties. Plaintiff answers these Requests only on its own behalf and not on behalf

 3 of any other party.

 4            3.     Plaintiff objects to Plaintiff’s Definitions and Instructions to the extent they are

 5 inconsistent with the appropriate Federal Rules of Civil Procedure, such as Rules 26 and 34, and

 6 the Local Rules of the Court and the Court’s orders. Plaintiff will rely upon the Federal Rules

 7 of Civil Procedure, the Local Civil Rules, the Court’s orders and governing case law with

 8 respect to the appropriate scope of the Requests.

 9            4.     Plaintiff objects to each Request to the extent they purport to require disclosure

10 of Plaintiff’s confidential and/or proprietary business information and trade secrets. Likewise,

11 Plaintiff will not produce the confidential, proprietary or trade secret information of third parties

12 with whom Plaintiff transacts business. Similarly, Plaintiff will not produce confidential

13 personal information in violation of the privacy rights of its officers, employees or any third

14 parties.

15            5.     These responses represent Plaintiff’s good faith effort to respond based on

16 information and documents available at this time. Plaintiff specifically reserves the right to

17 supplement its responses in the future, as appropriate.

18            6.     Plaintiff objects to each Request to the extent that it seeks information that is

19 protected by the attorney-client privilege, the work product privilege or other privileges, or

20 which constitute material prepared in anticipation of litigation and/or which are exempt from

21 disclosure pursuant to Fed. R. Civ. P. 26, upon the grounds that privileged matter is exempt

22 from discovery and trial preparation material may only be discoverable upon satisfaction of the

23 prerequisites delineated in Fed. R. Civ. P. 26(b)(3) and (b)(4), which prerequisites have not

24 been satisfied.

25

26

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                              1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                         Seattle, WA 98154
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 1           7.      The statement that Plaintiff will produce responsive documents that can be

 2 located after a reasonable search should not be taken as an admission that any such documents

 3 exist under Plaintiff’s possession or control or at all.

 4           8.      The inadvertent or mistaken provision of information subject to the protections

 5 of the attorney-client privilege, work product doctrine, or other privilege shall not constitute a

 6 general, inadvertent, implicit, subject matter, separate, independent or other waiver of such

 7 privilege or protection, and does not put in issue or constitute the affirmative use of the advice

 8 of counsel or of any privileged communications. All such inadvertently provided information

 9 shall be returned to Plaintiff’s counsel, along with any copies made thereof.

10 To the extent Plaintiff has agreed to produce documents in response to these Requests, Plaintiff

11 will do so pursuant to the parties’ agreement (if one exists) regarding the timing and manner of

12 such production.

13                               SPECIFIC OBJECTIONS AND RESPONSES

14 REQUEST FOR PRODUCTION NO. 1:

15           A copy of the object code of the Infringement Detection Software used on the Dates Of

16 Alleged Infringements.

17 RESPONSE:

18           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

19 herein. Plaintiff specifically objects to this request as vague and ambiguous with respect to the

20 term “object code,” which impermissibly requires Plaintiff and/or its attorneys to speculate as to

21 the meaning intended. Plaintiff further objects to this request as seeking the production of

22 documents which are not in Plaintiff’s possession, custody, or control. The documents and

23 materials sought by this request—documents related to the technical specifications, hardware,

24 software, code operation, creation, tests, or maintenance of the Infringement Detection

25 System—are in the exclusive possession, custody, and control of IPP International, UG’s

26 (“IPP”), a third party over whom Plaintiff has no control. To be clear, IPP and Plaintiff are

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
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 1 separate entities. IPP is not owned by, partnered with, or affiliated with Plaintiff. Plaintiff pays

 2 for IPP’s anti-piracy data collection services and therefore IPP is a vendor to Plaintiff.

 3 Accordingly, IPP does not and will not provide any of its trade secrets to Plaintiff. Plaintiff

 4 objects to this request for production as vastly overbroad, beyond the scope of permissible

 5 discovery and not relevant to the claims and defenses in this case nor proportional to the needs

 6 of this case. Plaintiff further objects to this request for production as seeking confidential,

 7 proprietary, and trade secret information.

 8           Subject to and without waiver of its foregoing objections, Plaintiff has no documents or

 9 materials responsive to this request for production within its possession, custody, and control.

10

11 REQUEST FOR PRODUCTION NO. 2:

12           A copy of the source code of the Infringement Detection Software that was used on the

13 Dates Of Alleged Infringements.

14 RESPONSE:

15           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

16 herein. Plaintiff specifically objects to this request as seeking the production of documents

17 which are not in Plaintiff’s possession, custody, or control. The documents and materials

18 sought by this request—documents related to the technical specifications, hardware, software,

19 code operation, creation, tests, or maintenance of the Infringement Detection System—are in the

20 exclusive possession, custody, and control of IPP International, UG’s (“IPP”), a third party over

21 whom Plaintiff has no control. To be clear, IPP and Plaintiff are separate entities. IPP is not

22 owned by, partnered with, or affiliated with Plaintiff. Plaintiff pays for IPP’s anti-piracy data

23 collection services and therefore IPP is a vendor to Plaintiff. Accordingly, IPP does not and

24 will not provide any of its trade secrets to Plaintiff. Plaintiff objects to this request for

25 production as vastly overbroad, beyond the scope of permissible discovery and not relevant to

26 the claims and defenses in this case nor proportional to the needs of this case. Plaintiff further

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
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 1 objects to this request for production as seeking confidential, proprietary, and trade secret

 2 information.

 3           Subject to and without waiver of its foregoing objections, Plaintiff has no documents or

 4 materials responsive to this request for production within its possession, custody, and control.

 5

 6 REQUEST FOR PRODUCTION NO. 3:

 7           A copy of all third-party software licenses that were used for Infringement Detection

 8 Software on the Dates Of Alleged Infringements.

 9 RESPONSE:

10           See Plaintiff’s objections and response to Request for Production No. 2, which Plaintiff

11 incorporates herein by reference.

12

13 REQUEST FOR PRODUCTION NO. 4:

14           A copy of all build files of the Infringement Detection Software that was used on the

15 Dates Of Alleged Infringements.

16 RESPONSE:

17           See Plaintiff’s objections and response to Request for Production No. 2, which Plaintiff

18 incorporates herein by reference. Plaintiff further objects to this request as vague and

19 ambiguous with respect to the term “build files,” which impermissibly requires Plaintiff and/or

20 its attorneys to speculate as to the meaning intended.

21

22 REQUEST FOR PRODUCTION NO. 5:

23           A copy of all validation test files for the Infringement Detection Software that was used

24 on the Dates Of Alleged Infringements.

25

26

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                 FOX ROTHSCHILD LLP
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 1 RESPONSE:

 2           See Plaintiff’s objections and response to Request for Production No. 2, which Plaintiff

 3 incorporates herein by reference.

 4

 5 REQUEST FOR PRODUCTION NO. 6:

 6           A copy of all documentation for Infringement Detection on the Dates Of Alleged

 7 Infringements.

 8 RESPONSE:

 9           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

10 herein. To the extent that this request seeks the production of documents related to the technical

11 specifications or operation of the Infringement Detection System itself, Plaintiff incorporates

12 herein by reference its objections and response to Request for Production No. 2. Plaintiff

13 further objects to this request as vague and ambiguous with respect to the term

14 “documentation,” which impermissibly requires Plaintiff and/or its attorneys to speculate as to

15 the meaning intended.

16           Subject to and without waiver of the foregoing objections, Plaintiff will produce all the

17 PCAPs, .tar files, and .torrent files in its possession, custody, or control, related to Defendant’s

18 infringing transactions alleged in the operative complaint as well as a Technical Report

19 associated with one infringing transaction committed by IP address 73.225.38.130.

20

21 REQUEST FOR PRODUCTION NO. 7:

22           A copy of all expert reports regarding the testing, validation, and/or inspection of the

23 Infringement Detection Software on the Dates Of Alleged Infringements.

24 RESPONSE:

25           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

26 herein. Plaintiff specifically objects to this request as vague and ambiguous with respect to the

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                   FOX ROTHSCHILD LLP
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 1 term “expert reports,” which impermissibly requires Plaintiff and/or its attorneys to speculate as

 2 to the meaning intended. Plaintiff further objects to this request as seeking publicly available

 3 documents. To the best of Plaintiff’s knowledge, IPP’s Infringement Detection System has

 4 been tested twice by an expert based in the U.S, and reports regarding such tests are publicly

 5 available.

 6           Subject to and without wavier of the foregoing objections, Plaintiff will, as a courtesy,

 7 search for and, if located, produce copies of those expert reports. However, to the extent this

 8 request for production seeks any other reports (such as any created for IPP’s internal purposes),

 9 Plaintiff incorporates herein by reference its objections and response to Request for Production

10 No. 2.

11

12 REQUEST FOR PRODUCTION NO. 8:

13           A copy of all expert reports regarding the testing, validation, and/or monitoring of

14 Infringement Detection.

15 RESPONSE:

16           See Plaintiff’s objections and response to Request for Production No. 7, which Plaintiff

17 incorporates herein by reference.

18

19 REQUEST FOR PRODUCTION NO. 9:

20           A copy of any and all Documents that reference IP Addresses used to monitor the

21 BitTorrent Swarm for Infringement Detection on the Dates Of Alleged Infringements.

22 RESPONSE:

23           Plaintiff incorporates herein by reference its objections to Request for Production No. 2.

24 Subject to and without wavier of the foregoing objections, Plaintiff will produce all the PCAPs,

25 in its possession, custody, or control, related to Defendant’s infringing transactions alleged in

26 the operative complaint as well as the Infringement Transaction Log File, which lists each

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
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 1 infringing transaction involving IP address 73.225.38.130, and a Technical Report associated

 2 with one infringing transaction committed by IP address 73.225.38.130.

 3

 4 REQUEST FOR PRODUCTION NO. 10:

 5           A copy of all PCAPs from the BitTorrent Swarms that were collected for Infringement

 6 Detection on the Dates of the Alleged Infringements.

 7 RESPONSE:

 8           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

 9 herein. Plaintiff specifically objects to this request for production as vastly overbroad, beyond

10 the scope of permissible discovery and not relevant to the claims and defenses in this case nor

11 proportional to the needs of this case.

12           Subject to and without wavier of the foregoing objections, Plaintiff will produce a copy

13 of all PCAPs from the BitTorrent Swarms that were collected for Defendant’s IP address on the

14 Dates of the Alleged Infringements.

15

16 REQUEST FOR PRODUCTION NO. 11:

17           A copy of all Torrent Files accessed by the Infringement Detection Software

18 corresponding to the Works.

19 RESPONSE:

20           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

21 herein. Plaintiff specifically objects to this request for production as vastly overbroad, beyond

22 the scope of permissible discovery and not relevant to the claims and defenses in this case nor

23 proportional to the needs of this case. As written, the request seeks the production of .torrent

24 files that are not at issue in this case. To explain, a single .torrent file can only correspond to a

25 single particular hash. Although IPP monitors the infringement of each Work listed in the

26 operative complaint, each work is potentially infringed through hundreds of different .torrent

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                   FOX ROTHSCHILD LLP
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 1 files and hashes. Accordingly, a request for every .torrent file is overly broad and unduly

 2 burdensome, and seeks data not relevant or proportional to the needs of this case. The only

 3 relevant .torrent files are those which Plaintiff alleged that Defendant infringed in this case.

 4           Accordingly, subject to and without waiver of the foregoing objections, Plaintiff will

 5 produce the .torrent files for all the hashes at issue in this case. If the Defendant infringed a

 6 single work using multiple .torrent files, Plaintiff will produce the .torrent files for each of those

 7 hashes as well.

 8

 9 REQUEST FOR PRODUCTION NO. 12:

10           A copy of all DMCA notices sent to IP address 73.225.38.130.

11 RESPONSE:

12           Having conducted a reasonable and diligent search, Plaintiff is not in possession,

13 custody, or control of any documents responsive to this request for production.

14

15 REQUEST FOR PRODUCTION NO. 13:

16           A copy of all DMCA notices sent to any internet service provider, in relation to IP

17 address 73.225.38.130.

18 RESPONSE:

19           Having conducted a reasonable and diligent search, Plaintiff is not in possession,

20 custody, or control of any documents responsive to this request for production.

21

22 REQUEST FOR PRODUCTION NO. 14:

23           A copy of all copyright certificates related to the Works.

24 RESPONSE:

25           Plaintiff will produce all non-privileged documents within its possession, custody, or

26 control responsive to this request for production.

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                              1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                         Seattle, WA 98154
                                                                                         (206) 624-3600
                                                     10

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 1 REQUEST FOR PRODUCTION NO. 15:

 2           A copy of all copyright depository copies related to the Works.

 3 RESPONSE:

 4           Plaintiff will produce all non-privileged documents within its possession, custody, or

 5 control responsive to this request for production.

 6

 7 REQUEST FOR PRODUCTION NO. 16:

 8           All Documents, for the last three years, supporting your allegation in paragraph 3 of the

 9 Complaint that SH3 has “...more than 20 million unique visitors to its websites each month...”

10 RESPONSE:

11           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

12 herein. Plaintiff specifically objects to this request for production as vastly overbroad, unduly

13 burdensome, beyond the scope of permissible discovery, not relevant to the claims and defenses

14 in this case nor proportional to the needs of this case, and in direct violation Fed. R. Civ. P. 26

15 (b)(1), which states that the “[p]arties may obtain discovery regarding any non-privileged matter

16 that is relevant to any party's claim or defense and proportional to the needs of the case,

17 considering the importance of the issues at stake in the action, the amount in controversy, the

18 parties’ relative access to relevant information, the parties’ resources, the importance of the

19 discovery in resolving the issues, and whether the burden or expense of the proposed discovery

20 outweighs its likely benefit.” Here, the requested production of voluminous server logs

21 establishing that 20 million unique IP addresses visit Plaintiff’s websites each month is neither

22 relevant nor proportional to the needs of this case. Indeed, this documentation has no bearing

23 on Defendant’s liability for copyright infringement and does nothing to support any claim or

24 defense in this matter, including Defendant’s abuse of process and declaration of non-

25 infringement counterclaims. Plaintiff further objects to this request for production as designed

26 to annoy, harass, oppress, and interposed for an improper purpose.

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                            1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                       Seattle, WA 98154
                                                                                       (206) 624-3600
                                                     11

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 1           Subject to and without waiver of the foregoing objections, Plaintiff is not presently

 2 producing documents in response to this request for production.

 3

 4 REQUEST FOR PRODUCTION NO. 17:

 5           All Documents supporting your allegations in paragraph 4 of the Complaint that

 6 Defendant “...has been recorded infringing 80 movies over an extended period of time”.

 7 RESPONSE:

 8           Plaintiff will produce all non-privileged documents within its possession, custody, or

 9 control responsive to this request for production.

10

11 REQUEST FOR PRODUCTION NO. 18:

12           All Documents supporting your allegations in paragraph 9 of the Complaint that

13 “...Plaintiff used IP address geolocation technology by Maxmind Inc. (“Maxmind”)”.

14 RESPONSE:

15           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

16 herein. Plaintiff specifically objects to this request for production as not relevant to the claims

17 and defenses in this case nor proportional to the needs of this case. Plaintiff merely used

18 Maxmind Inc. to determine the location of Defendant and, therefore, determine if venue for this

19 lawsuit was proper in this district, which it is and Defendant never objected to venue in this

20 district. Here, Maxmind determined that the Defendant assigned IP address 73.225.38.130

21 resides in the Western District of Washington—a fact which defense counsel subsequently

22 confirmed. Since Defendant’s residence is not in dispute, any document relating to this

23 geolocation technology is irrelevant.

24           Subject to and without waiver of the foregoing objections, Plaintiff is not presently

25 producing documents in response to this request for production.

26

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                            1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                       Seattle, WA 98154
                                                                                       (206) 624-3600
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 1 REQUEST FOR PRODUCTION NO. 19:

 2           All Documents supporting your allegations in paragraph 13 of the Complaint that

 3 “Strike 3’s subscription based websites proudly boast a paid subscriber base that is one of the

 4 highest of any adult-content sites in the world.”

 5 RESPONSE:

 6           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

 7 herein. Plaintiff specifically objects to this request for production as vastly overbroad, unduly

 8 burdensome, beyond the scope of permissible discovery, not relevant to the claims and defenses

 9 in this case nor proportional to the needs of this case, and in direct violation Fed. R. Civ. P. 26

10 (b)(1), which states that the “[p]arties may obtain discovery regarding any non-privileged matter

11 that is relevant to any party's claim or defense and proportional to the needs of the case,

12 considering the importance of the issues at stake in the action, the amount in controversy, the

13 parties’ relative access to relevant information, the parties’ resources, the importance of the

14 discovery in resolving the issues, and whether the burden or expense of the proposed discovery

15 outweighs its likely benefit.” Here, the requested production of voluminous subscriber data that

16 is neither relevant nor proportional to the needs of this case. Indeed, Plaintiff’s subscriber base

17 has no bearing on Defendant’s liability for copyright infringement and does nothing to support

18 any claim or defense in this matter, including Defendant’s abuse of process and declaration of

19 non-infringement counterclaims. Plaintiff further objects to this request for production as

20 designed to annoy, harass, oppress, and interposed for an improper purpose. Plaintiff also

21 objects to this request for production as seeking highly sensitive private subscriber information

22 which infringes these subscribers’ privacy rights and confidential business information pursuant

23 to Fed. R. Civ. P. 26(c).

24           Subject to and without waving the foregoing objection, Plaintiff avers that ample data on

25 numerous publicly accessible websites support this allegation and Plaintiff is therefore not

26 presently producing documents in response to this request for production.

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                            1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                       Seattle, WA 98154
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 1 REQUEST FOR PRODUCTION NO. 20:

 2           All Documents supporting your allegations in paragraph 13 of the Complaint that

 3 “Strike 3 also licenses its motion pictures to popular broadcasters”.

 4 RESPONSE:

 5           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

 6 herein. Plaintiff specifically incorporates herein by reference its objections and response to

 7 Request for Production No. 19. Plaintiff further objects to this request for production as seeking

 8 documents containing confidential business information pursuant to Fed. R. Civ. P. 26(c).

 9 Indeed, the terms of each agreement are highly confidential, not publicly known, and provide

10 each party with a competitive advantage.

11           Subject to and without waiver of the foregoing objections, Plaintiff is not presently

12 producing documents in response to this request for production.

13

14 REQUEST FOR PRODUCTION NO. 21:

15           All Documents supporting your allegations in paragraph 13 of the Complaint that

16 “Strike 3’s motion pictures are the number one selling adult DVDs in the United States”.

17 RESPONSE:

18           Plaintiff incorporates the foregoing General Objections by reference as if set forth fully

19 herein. Plaintiff specifically objects to this request for production as vastly overbroad, unduly

20 burdensome, beyond the scope of permissible discovery, not relevant to the claims and defenses

21 in this case nor proportional to the needs of this case, and in direct violation Fed. R. Civ. P. 26

22 (b)(1), which states that the “[p]arties may obtain discovery regarding any non-privileged matter

23 that is relevant to any party's claim or defense and proportional to the needs of the case,

24 considering the importance of the issues at stake in the action, the amount in controversy, the

25 parties’ relative access to relevant information, the parties’ resources, the importance of the

26 discovery in resolving the issues, and whether the burden or expense of the proposed discovery

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                            1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                       Seattle, WA 98154
                                                                                       (206) 624-3600
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 1 outweighs its likely benefit.” Here, the requested production of voluminous sales data that is

 2 neither relevant nor proportional to the needs of this case. Indeed, Plaintiff’s sales data has no

 3 bearing on Defendant’s liability for copyright infringement and does nothing to support any

 4 claim or defense in this matter, including Defendant’s abuse of process and declaration of non-

 5 infringement counterclaims. Plaintiff further objects to this request for production as designed

 6 to annoy, harass, oppress, and interposed for an improper purpose. Plaintiff also objects to this

 7 request for production as seeking highly sensitive sales data which infringes these subscribers’

 8 privacy rights and confidential business information pursuant to Fed. R. Civ. P. 26(c).

 9           Subject to and without waving the foregoing objection, Plaintiff avers that ample data on

10 numerous publicly accessible websites support this allegation and Plaintiff is therefore not

11 presently producing documents in response to this request for production.

12

13 REQUEST FOR PRODUCTION NO. 22:

14           All Documents supporting your allegations in paragraph 16 of the Complaint that “Often

15 appearing among the most infringed popular entertainment content on torrent websites, Strike

16 3’s motion pictures are among the most pirated content in the world.”

17 RESPONSE:

18           Plaintiff incorporates herein by reference its objections and response to Request for

19 Production No. 21.

20           Subject to and without waving the foregoing objection, Plaintiff avers that ample data on

21 numerous publicly accessible websites support this allegation and Plaintiff is therefore not

22 presently producing documents in response to this request for production.

23

24

25

26

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                            1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                       Seattle, WA 98154
                                                                                       (206) 624-3600
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 1 REQUEST FOR PRODUCTION NO. 23:

 2           All Documents supporting your allegations that Defendant distributed S3H’s Works, as

 3 alleged in paragraph 23 of the Complaint.

 4 RESPONSE:

 5           Plaintiff will produce such documents responsive to this request for the production to the

 6 extent they are non-privileged within its possession, custody, or control, and can be located after

 7 a reasonable search.

 8

 9 REQUEST FOR PRODUCTION NO. 24:

10           All Documents supporting your allegations in paragraph 26 of the Complaint that “A

11 full copy of each digital media file was downloaded from the BitTorrent file distribution

12 network, and it was confirmed through independent calculation that the file hash correlating to

13 each file matched the file hash downloaded by Defendant.”

14 RESPONSE:

15           Plaintiff will produce such documents responsive to this request for the production to the

16 extent they are non-privileged within its possession, custody, or control, and can be located after

17 a reasonable search.

18

19 REQUEST FOR PRODUCTION NO. 25:

20           All Documents supporting your allegations in paragraph 27 of the Complaint that

21 “Defendant downloaded, copied, and distributed a complete copy of Plaintiff’s Works”.

22 RESPONSE:

23           Plaintiff will produce such documents responsive to this request for the production to the

24 extent they are non-privileged within its possession, custody, or control, and can be located after

25 a reasonable search.

26

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                 FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                           1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                      Seattle, WA 98154
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 1 REQUEST FOR PRODUCTION NO. 26:

 2           All Documents supporting your allegations in paragraph 29 of the Complaint that “The

 3 digital media files have been verified to contain a digital copy of a motion picture that is

 4 identical (or alternatively, strikingly similar or substantially similar) to Plaintiff’s corresponding

 5 original copyrighted Works.”

 6 RESPONSE:

 7           Plaintiff will produce the .tar file and the control copy corresponding to each Work.

 8

 9 REQUEST FOR PRODUCTION NO. 27:

10           All Documents supporting your allegations in paragraph 30 of the Complaint that

11 “Absent this lawsuit, Plaintiff knows of no way to effectively prevent Defendant from

12 infringing Plaintiff’s motion pictures.”

13 RESPONSE:

14           Plaintiff will produce such documents responsive to this request for the production to the

15 extent they are non-privileged within its possession, custody, or control, and can be located after

16 a reasonable search.

17

18           DATED this 4th day of January, 2019

19                                                 FOX ROTHSCHILD LLP

20

21                                                  s/ Bryan J. Case
                                                   Bryan J. Case, WSBA #41781
22                                                 Lincoln D. Bandlow, admitted Pro Hac Vice
                                                   (CSBA #170449)
23
                                                   Attorneys for Plaintiff Strike 3 Holdings, LLC
24

25

26

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                   FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                             1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                        Seattle, WA 98154
                                                                                        (206) 624-3600
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 1                                   CERTIFICATE OF SERVICE

 2           I certify that I am a secretary at the law firm of Fox Rothschild LLP in Seattle,
 3 Washington. I am a U.S. citizen over the age of eighteen years and not a party to the within

 4 cause. On the date shown below, I caused to be served a true and correct copy of the foregoing

 5 on counsel of record for all other parties to this action as indicated below:

 6
        J. Curtis Edmondson, WSBA #43795               _ Via CM/ECF / Email
 7      399 NE John Olsen Avenue                       _ Via U.S. Mail
        Hillsboro, Oregon 97124                         Via Messenger Delivery
 8      Telephone: (503) 336-3749                       Via Overnight Courier
        Email: jcedmondson@edmolaw.com                  Via Facsimile
 9

10
             DATED this 4th day of January, 2018.
11

12

13                                               Courtney R. Tracy
                                                 Legal Administrative Assistant
14

15

16

17

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19

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      PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
      DEFENDANT’S REQUESTS FOR PRODUCTION OF                            1001 Fourth Avenue, Suite 4500
      DOCUMENTS (Case No.: 2:17-cv-01731-TSZ)                                       Seattle, WA 98154
                                                                                       (206) 624-3600
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 1                                                                          Honorable Thomas S. Zilly
 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
 9
                                               AT SEATTLE
10
   STRIKE 3 HOLDINGS, LLC, a Delaware                       Case Number: 2:17-cv-01731-TSZ
11 corporation,

12                          Plaintiff,                       PLAINTIFF’S EXPERT WITNESS LIST
                                                             AND PARTIAL EXPERT REPORTS
13 vs.

14 JOHN DOE subscriber assigned IP address
   73.225.38.130,
15
                     Defendant.
16

17
            Plaintiff, Strike 3 Holdings, LLC (“Plaintiff”), hereby submits the following list of expert
18

19 witnesses that it presently believes it may call at trial. Plaintiff reserves the right to supplement

20 or amend this list at any time prior to trial.

21
                                                    Witnesses:
22
            1.      Mr. Patrick Paige: Mr. Paige’s address is 8461 Lake Worth Road, Suite 427, Lake
23
     Worth, FL 33467. Plaintiff intends on calling Mr. Paige for the purpose of: (a) opining about IPP
24
     International U.G.’s software, and (b) reviewing the Defendant’s computers and hard drives and
25
     opining about anything he may discover. Mr. Paige’s declaration regarding his examination of
26
     IPP International U.G.’s infringement detection system and his curriculum vitae is attached as
27
      PLAINTIFF’S EXPERT WITNESS LIST                                           FOX ROTHSCHILD LLP
28    AND PARTIAL EXPERT REPORTS                                         1001 Fourth Avenue, Suite 4500
      (2:17-cv-01731-TSZ)                                                            Seattle, WA 98154
                                                                                        (206) 624-3600
                                                        1
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 1 Exhibit A. Mr. Paige’s curriculum vitae outlines his qualifications as an expert witness and listing

 2 all the other cases in which, during the previous four years, Mr. Paige has testified as an expert at

 3 trial or by deposition. Mr. Paige is compensated $325.00 per hour to provide his expert opinion

 4 on the above matters.

 5          2.      Mr. Stephen Bunting: Mr. Bunting’s address is 33579 Blue Heron Dr. Lewes, DE

 6 19958. Plaintiff intends on calling Mr. Bunting for the purpose of: (a) opining about IPP

 7 International U.G.’s infringement detection system, which it licenses from GuardaLey, Ltd. Mr.

 8 Bunting’s declaration regarding his examination of IPP’s infringement detection system and his

 9 curriculum vitae is attached as Exhibit B.             Mr. Bunting’s curriculum vitae outlines his

10 qualifications as an expert witness and listing all the other cases in which, during the previous

11 four years, Mr. Bunting has testified as an expert at trial or by deposition. Mr. Bunting is

12 compensated $250.00 per hour to provide his expert opinion on the above matters.

13          Plaintiff reserves the right to call any additional individuals revealed in discovery not yet

14 conducted or completed which may be necessary to respond to witnesses, documents, facts or

15 opinions not yet disclosed to Plaintiff. Plaintiff further reserves the right to call any additional

16 witnesses needed to rebut any defenses not raised by Defendant as of the time of service of this

17 list.

18
                th
19 DATED this 15 day of March, 2019                Respectfully submitted,

20
                                                   FOX ROTHSCHILD LLP
21
                                                   By: /s/ Bryan J. Case
22                                                 Bryan J. Case, WSBA #41781
                                                   1001 Fourth Avenue Suite 4500
23                                                 Seattle, WA 98154
                                                   Telephone: 206-625-3600
24                                                 Facsimile: 206-389-1708
                                                   Email: bcase@foxrothschild.com
25
                                                   Attorneys for Plaintiff
26

27
     PLAINTIFF’S EXPERT WITNESS LIST                                           FOX ROTHSCHILD LLP
28   AND PARTIAL EXPERT REPORTS                                         1001 Fourth Avenue, Suite 4500
     (2:17-cv-01731-TSZ)                                                            Seattle, WA 98154
                                                                                       (206) 624-3600
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 1                                 CERTIFICATE OF SERVICE
 2
          I hereby certify that on March 15, 2019, I electronically filed the foregoing document was
 3 served via U.S. Mail and/or email to the following:

 4         J. Curtis Edmondson, WSBA #43795
           EDMONDSON IP LAW
 5         399 NE John Olsen Avenue
 6         Hillsboro, Oregon 97124
           Telephone: (503) 336-3749
 7         Email: jcedmondson@edmolaw.com

 8         Adrienne D. McEntee, WSBA #34061
           TERRELL MARSHALL LAW GROUP PLLC
 9
           936 North 34th Street, Suite 300
10         Seattle, Washington 98103-8869
           Telephone: (206) 816-6603
11         Email: amcentee@terrellmarshall.com

12                                              By: /s/ Bryan J. Case
13

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23

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25

26

27
     PLAINTIFF’S EXPERT WITNESS LIST                                        FOX ROTHSCHILD LLP
28   AND PARTIAL EXPERT REPORTS                                      1001 Fourth Avenue, Suite 4500
     (2:17-cv-01731-TSZ)                                                         Seattle, WA 98154
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                                                   3
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         — EXHIBIT 6 —
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                                               Computer Forensics, LLC
                                               8461 Lake Worth Road, Suite 427
                                               Lake Worth, FL 33467
                                               Main: 561.404.3074
                                               www.ComputerForensicsLLC.com




     EXPERT REPORT REGARDING TESTING OF IPP INTERNATIONAL UG’S
                 INFRINGEMENT DETECTION SYSTEM




Prepared By:      Patrick Paige, EnCE SCERS
                  Managing Member
                  Computer Forensics, LLC
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                           DECLARATION OF PATRICK PAIGE

       I, PATRICK PAIGE, DO HEREBY DECLARE:

       1.     I am over the age of eighteen (18) and otherwise competent to make this

declaration. The facts stated in this declaration are based upon my personal knowledge.

       2.     I was a police officer from 1989 until 2011 for the Palm Beach County Sherriff’s

Office. And, from 2000-2011, I was a detective in the Computer Crimes Unit. After leaving the

Palm Beach County Sherriff’s Office, I founded Computer Forensics, LLC, where I am currently

employed.

       3.     I have taken over 400 hours of courses designed to teach people how to conduct

computer forensic examinations.

       4.     Also, while working from 2003-2011 for Guidance Software, the makers of

EnCase, I taught over 375 hours of courses in computer forensics ranging from beginner to

advanced levels.

       5.     As a computer crimes detective for the Palm Beach County Sheriff’s Office, I have

conducted forensic computer examinations for:

              (a)     Broward County Sheriff’s Office (BSO);

              (b)     Federal Bureau of Investigation (FBI);

              (c)     U.S. Customs and Border Protection (CBP);

              (d)     Florida Department of Law Enforcement (FDLE);

              (e)     U.S. Secret Service;

              (f)     Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF); and

              (g)     Various municipalities in the jurisdiction of Palm Beach County.
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       6.      I have had students in my courses from various government branches, including:

(a) sheriff’s offices; (b) FBI agents; (c) ATF agents; (d) agents from the Central Intelligence

Agency; and (e) individuals from other branches of government and the private sector.

       7.      I have received the following awards and commendations:

               (a)     1991 – Deputy of the Year, awarded by the 100 Men’s Club of Boca Raton
                       & Rotary Club.

               (b)     1997 – Deputy of the Month for June.

               (c)     2001 – Detective of the Month for October.

               (d)     2002 – Outstanding Law Enforcement Officer of the Year, awarded by the
                       United States Justice Department for work in the U.S. vs. Jerrold Levy case.

               (e)     2003 – U.S. Customs Service Unit Commendation Citation Award for
                       computer forensic work in Operation Hamlet. Operation Hamlet was one
                       of the largest rings in the history of U.S. Customs of individuals who were
                       molesting their own children, and transmitting the images and video via the
                       Internet.

               (f)     2005 – Detective of the Month for December.

               (g)     2006 – Letter of Commendation issued by the FBI for outstanding computer
                       forensic work in the U.S. vs. Frank Grasso case.

               (h)     2007 – Outstanding Law Enforcement Officer of the Year, awarded by the
                       United States Justice Department for work in the U.S. vs. Jimmy Oliver case.

       8.      I have testified as a fact and expert witness on numerous occasions in the field of

computer forensics in both trial-level and appellate proceedings before state, federal, and military

courts in California, Florida, Indiana, New Jersey, New York, and Pennsylvania.

       9.      No court has ever refused to accept my testimony on the basis that I was not an

expert in computer forensics. My skill set and my reputation are my most important assets in my

current position with Computer Forensics, LLC.
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       10.       As part of my duties within the Computer Crimes Unit at the Palm Beach County

Sherriff’s Office, I investigated cases involving the use of the Internet, including cases involving

peer-to-peer file sharing networks. In this role, I also investigated Internet child pornography and

computer crime cases.

       11.       I was assigned to the Computer Crimes Unit that worked in conjunction with a

private company called TLO Corp.

       12.       When I worked with TLO Corp., I supervised the other detectives assigned to the

unit, which consisted of six online investigators and two computer forensic examiners.

       13.       In my experience, during the initial phase of Internet based investigations, the

offender is only known to law enforcement by an IP address.

       14.       The only entity able to correlate an IP address to a specific individual at a given

date and time is the Internet Service Provider (“ISP”).

       15.       Once provided with the IP Address, plus the date and time of the detected and

documented activity, ISP’s can use their subscriber logs to identify the name, address, email

address and phone number of the applicable subscriber in control of that IP address at the stipulated

date and time.

       16.       With regard to my experience investigating child pornography cases, I supervised

police officers whose responsibility it was to establish a successful TCP/IP connection with

persons who were sending pornographic images of children or other illegal content over the

Internet using peer-to-peer file sharing programs.

       17.       The offenders’ IP addresses, as well as the dates and times of the illegal

transmission were recorded.
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       18.     An officer would then request that the assistant state attorney subpoena the

corresponding ISPs for the purpose of identifying the subscribers that were transmitting the illegal

content.

       19.     In these cases, the subscribers were not notified by the ISPs that their identity was

being subpoenaed because they could have deleted the images and destroyed the data.

       20.     After receiving the subscribers’ identities, we would prepare a search warrant that

would authorize us to enter the subscribers’ dwelling and seize all of their computer devices.

       21.     I was directly involved in approximately 200 search warrants either by way of

managing the process or performing it personally while at the Computer Crimes Unit.

       22.     From my experience, Plaintiff is likely to identify the infringer. Indeed, during my

time in the Computer Crimes Unit, I can recall only one instance in all the times that we executed

a search warrant and seized computers, where we did not find the alleged illegal activity at the

dwelling identified in the search warrant.

       23.     In that one instance, the Wi-Fi connection was not password protected, and the

offender was a neighbor behind the residence.

       24.     I never came across a Wi-Fi hacker situation.

       25.     In my opinion, a child pornographer has a greater incentive to hack someone’s Wi-

Fi connection than a BitTorrent user because transmission of child pornography is a very serious

crime with heavy criminal penalties, and many offenders can face life sentences if convicted.

       26.     The process used by law enforcement mirrors the process used by Strike 3

Holdings, LLC and IPP to correlate an IP address to an individual.

       27.     In order to ascertain the identity of the infringer, just as with law enforcement,

Strike 3 Holdings, LLC must subpoena the ISP to learn the subscriber’s true identity.
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         28.      I tested IPP International U.G.’s (“IPP”) infringement detection system. The

infringement detection system is referred to as “Observer” or “International IPTracker.” It is used

by IPP to identify IP addresses used to illegally download and distribute content via BitTorrent.

This technology and similar investigative methods are used by law enforcement officials when

tracking individuals who transmit contraband files such as child pornography via the Internet.

         29.      I tested IPP’s infringement detection system for its accuracy in detecting and

recording infringement via BitTorrent, ascertaining an infringing IP address 1, and identifying the

“test” files being distributed on BitTorrent.

         30.      To conduct this test, I first downloaded four public domain movies from the

national archive.

         31.      I then encoded text into each video. The purpose of this encoding was to ensure that

when the file is located and download by IPP, it could be easily identified as the videos I personally

encoded and seeded.

         32.      I then setup and configured four computers, each of which was connected to the

Internet and each computer was configured with its own unique static IP address.

         33.      I then configured three computers with a Windows 7 operating system, and the

fourth computer was a MacBook Pro configured with OS X El Capitan version 10.11.4. I installed

a different BitTorrent client 2 onto each computer system as listed below:




1
  An IP address is a numerical value assigned to a computer or device that transmits and receives data via the Internet.
When a computer user accesses the Internet, their Internet Service Provider assigns them a unique IP address for that
session. In order to identify a computer user who is downloading files via the Internet, one must be able to identify
the IP address the user was using at that exact time and date of downloading.
2
  A BitTorrent client is software that enables the BitTorrent protocol to work.
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            Computer                 Operating System                BitTorrent Client
      Dell Laptop                 Windows 7                     uTorrent Version 3.4.7
      Dell Laptop                 Windows 7                     qBittorrent Version 3.3.4
      Dell Laptop                 Windows 7                     Transmission Version 2.84
      MacBook Pro Laptop          OS X El Capitan 10.11.4       uTorrent Version 1.8.7


       34.     After installing the BitTorrent clients, I also installed Wireshark and WinDump

onto each computer. Wireshark and WinDump are programs that capture network traffic and

create PCAP files. PCAP stands for “packet capture.” PCAPs are akin to videotapes. Indeed, a

PCAP is like a video recording of all the incoming and outgoing transactions of a computer. I

have used Wireshark and WinDump software while in law enforcement to examine network traffic

while investigating P2P cases.

       35.     After installing Wireshark and WinDump onto each of the computers, I transferred

the movie files that I created for the test to each of the four computers.

       36.     I then used one of the BitTorrent clients on the test computers to make .torrent files.

I then seeded the four test movies.

       37.     On June 3, 2016 the test was conducted. Given only the torrent files, IPP was able

to correctly identify all four static IP addresses for each of the test computers that were seeding

the movies within minutes of starting the test. Soon after the test, IPP sent me the PCAP files they

recorded during the test for each one of my static IP addresses.

       38.     I reviewed IPP’s PCAPs vis-à-vis the PCAP log files created by each of my test

computers, and determined that IPP’s PCAPs match my PCAPs. This could not have happened

unless IPP’s server was connected to the test computers because the transactions would not match.

       39.     I also conducted an examination of IPP’s PCAPs to determine if the detection

software can accurately identify the BitTorrent clients I used during the test. Using Wireshark

software I loaded IPP’s PCAPs recorded on the day of the test. IPP’s system was able to accurately
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record the names and version numbers of all four BitTorrent client’s software I used on each of

the test computers.

       40.     When a BitTorrent client is installed onto a computer, the computer randomly

selects a port number for its network communication. A port number is an integer ranging from 0

to 65535. The following is a chart listing the port number assigned to each of the test computers:

                      Computer                BitTorrent Client           Port
                Dell Laptop               uTorrent Version 3.4.7        51892
                Dell Laptop               qBittorrent Version 3.3.4     8999
                Dell Laptop               Transmission Version 2.84     51413
                MacBook Pro Laptop        uTorrent Version 1.8.7        10088


       41.     Examination of IPP’s PCAP revealed that the port numbers recorded by IPP’s

system matched the port numbers from the test computers used for BitTorrent communications.

Accordingly, my analysis confirmed that IPP was able to accurately identify the port number

assigned to each test computer’s BitTorrent client.

       42.     From this test, I concluded that IPP’s infringement detection system worked, and

had a subpoena been issued for my IP addresses, it would have revealed my identity. I also

concluded that IPP’s infringement detection system accurately identifies the BitTorrent clients as

well as the BitTorrent client’s port number.

       43.     In addition to testing IPP’s system, I have also conducted computer forensic

examinations for another production company (Malibu Media, LLC) who also used IPP’s system

to collect evidence for their copyright infringement cases.

       44.     In my role as an expert in BitTorrent copyright infringement cases, I have examined

countless computer hard drives for evidence of: (a) the use of BitTorrent; (b) infringement of the

copyrighted works which IPP tracked; (c) spoliation of evidence; and (d) suppression of evidence.

These examinations have revealed either: (1) evidence of copyright infringement of the plaintiff’s
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works; or (2) evidence of suppression or spoliation. Sometimes I have found both. By way of

illustration, below are examples where a plaintiff obtained a defendant’s hard drive and discovered

evidence of its movies, spoliation, and/or a defendant’s failure to disclose all hard drives.

           a. Malibu Media, LLC v. Gregory Weaver, No. 8:14-cv-01580-VMC-TBM (M.D. Fla.
              2015): In Weaver, my forensic examination revealed evidence which irrefutably
              demonstrated: (a) defendant’s BitTorrent use; (b) the prior existence of numerous
              titles belonging to plaintiff; (c) the deletion of BitTorrent files and the uninstallation
              of a BitTorrent client; and (d) the existence of other computer devices that had not
              been produced.

           b. Malibu Media, LLC v. Lawrence Huseman, No. 1:13-cv-02695-WYD-MEH (D.
              Colo. 2014): In the Huseman case, on the hard drives I discovered evidence of: (a)
              BitTorrent use; (b) the prior existence of numerous titles belonging to plaintiff; (c)
              the deletion of BitTorrent files and uninstallation of a BitTorrent client; and (d) the
              existence of other computer devices that had not been produced for examination,
              one of which contained titles of plaintiff’s copyrighted works.

           c. Malibu Media, LLC v. John Doe, No. 1:-14-cv-10155-KBF (S.D.N.Y. 2015): My
              forensic examination revealed that defendant had over eleven different file
              destruction software programs on his hard drive – each with the capability of
              destroying substantial amounts of data. He used several of the software programs
              just days before turning it over for imaging and examination. I also detected that
              prior to defendant’s use of the file destruction software, the defendant connected
              another undisclosed external storage device to his hard drive. This suggested that
              defendant was storing data which he wanted to retain prior to using the file
              destruction software programs on his hard drive. Ultimately, the defendant
              admitted to infringing plaintiff’s movies.

           d. Malibu Media, LLC. v. Kelley Tashiro and Charles Tashiro, No. 1:13-cv-00205-
              WTL-MJD (S.D. Ind. 2014): My examination revealed that defendants deleted
              thousands of BitTorrent files the night before producing the hard drives for
              imaging. My examination also revealed that defendants possessed and used other
              hard drives which were never disclosed or produced during discovery. Ultimately,
              the Court imposed terminating sanctions against defendants for failure to disclose
              documents, spoliation, and perjury.

           e. Malibu Media, LLC v. John Doe, No. 12-cv-2078 (E.D. Pa. 2013): In this
              “Bellwether” case, my examination of defendant’s hard drives revealed that he
              installed a Windows operating system on his hard drive three (3) days after being
              served with a subpoena for production of his computer device. This installation
              resulted in the complete destruction of all files contained within the hard drive prior
              to the Windows installation. After falsely testifying, Defendant admitted that he
              downloaded Plaintiff’s copyrighted works and had wiped his desktop computer (by
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                installing a new Windows operating system) to conceal the infringement. In the
                end, the Court entered a substantial judgment in favor of plaintiff.

        45.     I am paid on an hourly basis by Strike 3 Holdings, LLC, at the rate of $325.00 per

hour for pre-trial investigative work, although the fee increases if I am required to testify at trial.

        FURTHER DECLARANT SAYETH NAUGHT.

                                              DECLARATION

        PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the

foregoing is true and correct.

        Executed on this _____
                          UI day of March, 2019.


                                                By:
                                                        PATRICK PAIGE
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Curriculum Vitae
Patrick L. Paige
8461 Lake Worth Road Suite 427
Lake Worth, FL 33467
Main: 561.404.3074
Patrick@computerforensicsllc.com
http://www.ComputerForensicsLLC.com

                                                 Summary of Experience

 I have more than 25 years of law enforcement investigation experience, including more than 10 years as a computer crimes
detective. I have performed computer forensic examinations for the Palm Beach County Sheriff’s Office and surrounding cities,
FBI, U.S. Customs, FDLE, Secret Service, ATF, and was a member of the South Florida ICAC taskforce for 10 years. In 2009 I was
assigned to supervise the law enforcement operations for the Palm Beach County Sexual Predator Enforcement (SPE) at the
located in Boca Raton FL. I have extensive knowledge of undercover online investigations including online enticement and Peer-
to-Peer networks. I have been involved with hundreds of cases and have testified in State, Federal, Appellate, and Military courts
as a computer expert including testifying as an expert in the functionality of Encase® at a murder trial. I have many forensic
certifications including EnCE, and SCERS, additionally I was an EnCase® certified instructor for Guidance Software and have
taught many forensic analysts around the country. I have earned many awards including Detective of the Month, U.S. Customs
Service Unit Commendation Citation Award for computer forensic work, and have twice earned the Outstanding Law
Enforcement Officer of the Year citation awarded by the United States Justice Department.

                                        Computer Expert Witness Experience

During my tenure as a law enforcement officer and in private practice, I have been called to testify as an expert on numerous
occasions in the field of computer forensics in Federal Courts in FL, CA, NJ, PA, IN, and NY, Appellate Courts, State Courts, and
Military courts. The following is a list of cases I assisted in or have testified, either at trial or by deposition.

U.S District Court Southern District of Florida, Hayes Healthcare Services LLC, Hayes Medical Staffing LLC v. Chase
Meacham, CASE NO. 0:19-cv-60113-JIC – January 28, 2019
Testimony: Hearing in front of Judge Cohn relating computer forensic protocol and procedures.

Circuit Court of the 11th Judicial Circuit of Miami Dade County, Schmitz Development Company v. Dorothy Joan
Schmitz, Case No.: 2018-000931 CA (44) – September 21, 2018
Appointment: Appointed by Judge Thomas as a neutral expert to image and extract all company related ESI related to the case.

Circuit Court of the 17th Judicial Circuit of Broward County, Doris Hamaway MD & Bridget Silva MD PA v. Bridget Silva
MD, Case No.: CACE17020169 – September 5, 2018
Appointment: Appointed by Judge Tuter as a neutral expert to server as an office of the court for the purpose of imaging, review
and production of certain ESI requests and to protect attorney-client work product.

U.S District Court Southern District of Florida, CASE NO. 17-CV-61937, Federal Trade Commission v. Student Debt Doctor, LLC, a
Florida corporation – October 2, 2017
Appointment: Appointed by the federal court ordered receiver Robert Carey, Esq. to oversee all the computer forensic imaging
and data recovery of company servers. Work with investigators to secure company domains and locate company assets.

Estate of Aida Marie Gonzalez v. Delray Medical Center, INC. d/b/a Fair Oaks Pavilion, Praturi Sharma, MD, Miguel W.
Mandoki, MD, The Chrysalis Center, Inc. Miriam R. Davis, LMHC; Antonio De Filippo, MD, Circuit Court of the 15th Judicial
Circuit of Palm Beach County, Civil Division, Case No.: 2014CA014731 AH – November 2, 2016
Testimony: Hearing in front of Judge Small relating to the processes involved in conducting computer forensic examination.



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Circuit Court of the 17th Judicial Circuit of Broward County, State of Florida v. Richard Taffee, Criminal Division, Case
No.: 14006795CF10A – August 25, 2016
Testimony: Hearing in front of Judge Bidwill regarding Cellebrite’s cell phone forensic hardware and the reports it produces.

U.S District Court Southern District of Florida, CASE NO. 9:16-cv-80060-MARRA , PROJECT INVESTORS, INC. d/b/a CRYPTSY,
a Florida corporation – May 6, 2016
Appointment: Appointed by the federal court ordered receiver James D. Sallah, Esq. to oversee all the computer forensic
imaging and data recovery of company servers. Oversee and recover numerous cryptocurrency wallets from company servers.

Malibu Media, LLC v. John Doe, U.S. District Court Southern District of New York, Civil Action, CASE NO.: 1:14-cv-03504-
JFB-SIL – April 20, 2016
Testimony: Hearing in front of Judge Steven I. Locke regarding BitTorrent testing and software.

Malibu Media, LLC v. John Doe, U.S. District Court Southern District of New York, Civil Action, CASE NO.: 1:14-cv-10151-
KBF – November 12, 2015
Testimony: Deposition, Computer forensic examination findings & BitTorrent.

Malibu Media, LLC v. Tashiro, U.S. District Court Southern District of Indiana, Civil Action, CASE NO.: 1:13-cv-00202-
WTL-MJD – April 30, 2015
Testimony: Evidentiary hearing in front of Judge Dinsmore regarding spoliation of evidence, computer forensic examination of
digital evidence and matters relating to BitTorrent.

Malibu Media, LLC v. John Doe subscriber assigned to IP Address 24.14.81.195, U.S. District Court Northern District of
Illinois, Civil Action, CASE NO.: 1:13-cv-006312 – February 17, 2015
Testimony: Deposition, Computer forensic examination findings & BitTorrent.

U.S District Court Southern District of Florida, CASE NO.: 14-cv-60468-MIDDLEBROOKS/BRANNON, Securities and Exchange
Commission v. JCS Enterprises, Inc., d/b/a JCS Enterprises Services, Inc., T.B.T.I. Inc. – April 7, 2014
Appointment: Appointed by the federal court ordered receiver James D. Sallah, Esq. to oversee all the computer forensic
imaging and data recovery of company computers. Assist federal prosecutors and defense council in the search and production
of email. Search and production of financial data to forensic accountants.

Malibu Media, LLC v. Michael Harrison, U.S. District Court Southern District of Indiana, Civil Action, CASE NO.: 1:12-cv-
01117-WTL-MJD – December 18, 2014
Testimony: Evidentiary hearing in front of Judge Dinsmore regarding spoliation of evidence, computer forensic examination of
digital evidence and matters relating to BitTorrent.

Malibu Media, LLC v. Michael Harrison, U.S. District Court Southern District of Indiana, Civil Action, CASE NO.: 1:12-cv-
01117-WTL-MJD – December 10, 2014
Testimony: Deposition, Computer forensic & BitTorrent.

Salvador Lopez Collazo and his wife Angelica Lopez Lopez, Plaintiffs VS. FEDEX GROUND PACKAGE SYSTEMS, INC., and
BRUTIS TRUCKING, INC. and DAVID JAMES WIDELL, Defendants. Circuit Court of the Thirteenth Judicial Circuit in and
for Hillsborough County, Florida Civil Division Case No: 12-018873 – April 8, 2014
Testimony: Deposition, cell phone forensics.

Restoration Management, Inc. v. James & Dana Pelletier, et al Eleventh Judicial Circuit of Florida Office of the General
Magistrate before Magistrate Judge Schwabedessien Case No. 09-52134CA40 – November 4, 2013
Testimony: Expert testimony regarding forensic procedures involving QuickBooks software in the area of database files and
program feature including audit trail.




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State of Florida v. Michael Render, Second Judicial Circuit Leon County, FL Motion to Suppress Hearing Case No. 2011
CF 3514 – July 30, 2013
Testimony: Expert testimony regarding police procedures on conducting online investigations including peer2peer undercover
operation. Computer forensics regarding peer2peer file sharing programs and how they work.

Malibu Media, LLC v. JOHN DOES 1, 6, 13, 14, and 16, U.S. District Court Eastern District of Pennsylvania, Civil Action No.
2012-2078 Consolidated from Cases: 2:12-cv-02078-MMB, 2:12-cv-02078-MMB, 5:12-cv-02088-MMB – June 10, 2013
Testimony: Expert testimony of my findings of the computers used by defendant Doe 16. Matters relating to the software used
by IPP International, Germany to monitor and identify copyright infringers.

Malibu Media, LLC v. JOHN DOES 1, 6, 13, 14, and 16, U.S. District Court Eastern District of Pennsylvania, Civil Action No.
2012-2078 Consolidated from Cases: 2:12-cv-02078-MMB, 2:12-cv-02078-MMB, 5:12-cv-02088-MMB – May, 2013
Testimony: Evidentiary hearing in front of Judge Baylson via video, regarding spoliation of evidence, computer forensic
examination of digital evidence and matters relating to BitTorrent.

Cypress Capital Group, Plaintiff v. Michael G. Blackmon, Defendant, Circuit of the Fifteenth Judicial Circuit, in and for
Palm Beach County, Florida - Case No: 502008CA033553MB – July 20, 2011
Testimony; Deposition, labor dispute.

United States v. Michael Faxon, United States District Court, S.D. Florida, Fort Pierce Division – Case No. 09-14030-CR –
February 5, 2010
Testimony; Forensic examination on the defendants’ computer. Explained how the Defendant's computers was using peer-to-
peer file sharing software known as LimeWire and GigaTribe.

United States Court of Appeals, Ninth Circuit. No. 07-10288.
United States of America, Plaintiff-Appellee, v. Walter M. SCHALES, Defendant-Appellant. - Argued April 15, 2008. -
October 20, 2008
Testimony: Detective Paige of the Palm Beach County Sheriff's Office also testified that he recognized images on the CD-ROM
depicting a child and an adult male that he arrested. The minor female depicted was five years old at the time of the photograph.

United States v. Kenneth WILK, U.S. District Court Southern District of Florida, Broward, Case No. 0:04-cr-60216-JIC –
2007. Capital Punishment Trail for Murder
Court: Testimony surrounding the intricate workings of Guidance’s software EnCase®. EnCase is one of the top forensics
software utilized by forensics analysts throughout the world.

United States Court of Appeals, Eleventh Circuit. No. 02-16809
United States of America, Plaintiff-Appellee, v. Samuel Alan MORTON, Defendant-Appellant. - April 01, 2004
Testimony: The government next called Patrick Paige, a detective with the Palm Beach County Sheriff's Office. Paige testified
that he created a forensics report regarding the material on Morton's computer hard drive. Included in the report were
downloaded movies that contained teen sex and a minor female and adult male engaged in sexual conduct. Paige also testified
that he found approximately 30 images of minors. On re-direct Paige testified that Morton had approximately 50-100 images in
his AOL account.

                                                     Work Experience

Computer Forensics LLC                                                                                    (2012 - Present)

I’m currently a managing member of Computer Forensics LLC. The company is committed to providing top quality service and
knowledge in the E-Discovery, Computer Forensics fields.




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Guidance Software (Creators of EnCase® Software)                                                          9 Years (2003 - 2012)

During the years listed was employed as an Instructor with Guidance Software. Guidance Software is the world leader in
providing computer and enterprise investigation solutions. Founded in 1997 and headquartered in Pasadena, CA, Guidance
Software Inc., has offices and training facilities in California, Virginia, Texas and the United Kingdom. My duties as Instructor
were to instruct students in the use of computer forensic software EnCase® made by Guidance Software. I also instruct students
in other aspects of computer forensics like identifying and collecting computer evidence, how computers work, storage of
electronic data and how files are deleted to name a few. Students who have attended classes I’ve taught include all branches of
the military, local, state and federal officers. I have also assisted in the collection of data in the field for the Professional Division
of Guidance Software who was contracted by the Department of Justice in the Sprint/Nextel merger in 2005.

Palm Beach County Sheriff’s Office                                                 21+ Years Employed (Ex: 1989 - 2011)

Detective Computer Crimes Unit (2000 - 2011)

2000 to present, I’ve been assigned to the Computer Crimes Unit. During my current assignment to the Computer Crimes Unit
I’ve investigated numerous Internet and computer related crimes. I’ve conducted many undercover online investigations
resulting in the arrests of individuals around the United States. I have been involved in numerous search warrants involving
online and child pornography investigations. I conduct computer forensic examinations for the Palm Beach County Sheriff’s
Office as well as local Law Enforcement. I’ve also done computer forensic examinations for the Broward County Sheriff’s Office,
FBI, U.S. Customs, FDLE, Secret Service, ATF and local cities. I have been a member of the South Florida ICAC (Internet Crimes
Against Children) taskforce since January 2001. As the Senior Computer Forensic Examiner for the Sheriff’s Office I was assigned
to train new computer forensic examiners assigned to the unit. I served as point of contact for 2 known series of child
pornography maintained by NCMEC (National Center for Missing and Exploited Children).

In 2009 I was assigned to supervise the law enforcement operations for the Palm Beach County Sexual Predator Enforcement
(SPE) located in Boca Raton FL with offices provided by the TLO Corp. The TLO facility housed the computer servers used by
law enforcement around the word to conduct P2P (Peer to peer) investigations. My assignments were as follows:

  •    Supervise the Detectives assigned to the unit which was consisted of 6 Online Investigators and 2 Computer Forensic
       Examiners.
  •    Conduct computer forensic analysis on computers seized by the unit and testify to the findings.
  •    Coordinate and supervise the execution of search warrants developed by Detectives assigned to the unit. Detectives
       assigned to the unit conducted undercover Online investigations and peer to peer investigation via commonly used file
       sharing programs like LimeWire, GigaTribe, eMule to name a few.
  •    Worked with TLO software engineers on developing and enhancing software tools used by law enforcement officers.
  •    Prepared weekly reports of statistics and arrests made by the unit which were distributed the local Chiefs of Police.
  •    Order and maintain computer forensic equipment, computers and software.
  •    Responsible for maintaining and tracking of all computer evidence seized for examination.

Detective Fraud Unit (1999)

This unit conducts investigations of criminal conduct in violation of Florida Laws concerning property crimes, fraud, forgery,
and computer crimes. While I was assigned to this unit I was tasked with investigating cases connected with the Internet.

Agent Organized Crime Unit (1997 - 1999)

I was assigned to the Tactical Unit of the Palm Beach Sheriff’s Office for two (2) years. During my assignment, I assisted in long
term investigations, surveillances, dignitary protection and was assigned to aid the FBI, DEA, ATF and local law enforcement in
investigations. I was also assigned to aid the Secret Service in the protection of heads of state, Vice President and President of
the United States when they entered Palm Beach County.




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Road Patrol Officer (1989 - 1997)

While assigned to the Road Patrol Division of the Palm Beach County Sheriff’s Office, I developed a practical working knowledge
of conducting investigations, evidence handling, and search and seizure laws. I also served as a FTO (Field Training Officer) for
3 years and was responsible for training over 35 new deputies hired by the Sheriff’s Office.

Delray Beach Police Department                                                            3 Years Employed (Ex: 1986 - 1989)

While assigned to the Delray Beach Police Department I mainly worked in the road patrol division. I also served as a FTO (Field
Training Officer) for a year.

ADVANCED LAW ENFORCEMENT & COMPUTER FORENSICS TRAINING

1. Seized Computer Evidence Recovery Specialist (SCERS) Federal Law Enforcement training Center in Glynco, GA 80HRS
    (2/2001)
2. Investigations of Computer Crimes (The International Association of Chiefs of Police) 40HRS
3. EnCase® Intermediate Analysis & Reporting course (Guidance Software Inc.) 32HRS
4. EnCase® Expert Series Internet & E-mail Examination course (Guidance Software Inc.) 32HRS
5. Conducting Online ICAC Investigations (Law Enforcement Against Child Harm Taskforce) 40HRS
6. Investigating Computer Use of the Internet by Child Sex Offenders (Institute of Child Advocacy)
7. Advanced Sex Crimes Investigations course (Palm Beach Community College) 40HRS
8. Organized Crimes Investigations course (Palm Beach Community College) 40HRS
9. Field Training Officer course (Palm Beach Community College) 40HRS
10. Advance Narcotics Identification (Palm Beach Community College) 40HRS
11. Dignitary Protection Operations (Tactical Response Training) 32HRS
12. Forensic Computer Examiner Training Program (International Association of Computer Investigation Specialists - IACIS)
    80HRS (5/2004)
13. 17th Annual Crimes Against Children Conference (Dallas, TX) 20HRS August 15-18, 2005
    (Conference courses attended: Forensics on Portable Devices, AOL & Yahoo investigations, Email Tracing and Techniques
     for Investigating Wireless Devices.
14. 18th Annual Crimes Against Children Conference (Dallas, TX) 20HRS August 21-24, 2006
    (Conference courses attended: Email and IP Tracing, Windows XP Forensic Gems, Digital Imaging Forensics and
     Investigating Wireless Devices.
15. CEIC 2012 (Computer and Enterprise Investigations Conference) 4 days (Summerlin, Nevada) May 21-24 2012
    (Conference courses attended: EnCase® version 7 training updates, Using cloud computing in forensics and electronic
     discovery, Embedded EnScripts®, Forensic tracking of USB devices, TD2, TD3 and the future of the forensic duplicator, exFat
     forensics and revealing Windows® 7 artifacts.
16. CEIC 2015 (Computer and Enterprise Investigations Conference) 4 days (Las Vegas, Nevada) May 18-21 2015
     Conference courses/labs attended:
     1. Investigating a User’s Internet Activity Across Computers, Smartphones and Tablets.
     2. Tracking the Use of USB Storage on Windows 8 & Windows Shellbag Forensics in Depth.
     3. Investigating Exchange, Microsoft Cloud Services and Office 365.
     4. Tips and Tricks from Guidance Software Technical Services.
     5. Practical Python Forensics, Practical Python Forensics & Advanced Examination Reporting.
     6. Windows 8 - Deconstructing the Catalog and Other Artifacts.
17. Enfuse 2018 (Security, Digital Investigation and eDiscovery Conference) 3 Days (Las Vegas, Nevada) May 21-24 2018
     Conference courses/labs attended:
     1. Digital Evidence from Social Networking Sites & Smartphone Apps.
     2. The future of EnCase.
     3. The Art & Science of Incident Response.
     4. The New Apple File System (APFS).
     5. Customized Reports with EnCase.

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                                                                                               Curriculum Vitae of Patrick Paige

    6. The Bits behind the Coin: Following the Trail of a Cryptocurrency Investigation.
    7. EnScript for Examiners & Index in EnCase software
    8. Logical Imaging with Tableau TX1


AWARDS
Delray Beach Police Department

3 – Patrol Division Commendations.
1987 – Rookie of the year.
1988 – Police officer of the month for March and August.

Palm Beach County Sheriff’s Office

1991 – Deputy of the year awarded by the 100 Men’s Club of Boca Raton & Rotary Club.
1997 – Deputy of the Month for June.
2001 – Detective of the Month for October.
2002 – Outstanding Law Enforcement Officer of the Year awarded by the United States Department of justice for work in the
     U.S. v Jerrold Levy case. News Articles Certificate of Achievement issued by the National Center for Missing & Exploited
     Children for work performed in the Levy case.
2003 – U.S. Customs Service Unit Commendation Citation Award for computer forensic work in Operation Hamlet. Operation
     Hamlet was one of the largest rings in U.S. Customs history of individuals who were molesting their own children, and
     transmitting the images and video via the Internet. News Articles 2005 – Detective of Month for December.
2006 – Letter of Commendation issued by the FBI for outstanding computer forensic work in the U.S. v Frank Grasso case. Article
2007 – Outstanding Law Enforcement Officer of the Year awarded by the United States Department of Justice for work in the
        U.S. v Jimmy Oliver case. Press Release
2009 – 20 Year Good Conduct Medal – For honorable and faithful service for a period of twenty years.
2009 – 20 Year Honorable Service Medal – For exemplary conduct, efficiency and fidelity for a period of twenty years.

CERTIFICATIONS / MEMBERSHIPS

EnCE – EnCase® Certified Examiner (Cert# 15-0703-1199 Exp. 7/21/2021)
CEECS – Certified Electronic Evidence Collection Specialist – IACIS
SCERS – Seized Computer Evidence Recovery Specialist – FLETC (Federal Law Enforcement Training Center in GA)
CFCE – Certified Forensic Computer Examiner – IACIS – CFCE from 2005 to 2008
Member of IACIS – International Association of Computer Investigative Specialists
Member of MECTF – Miami Electronics Crimes Task Force hosted by the United States Secret Service

COURSES TAUGHT FOR GUIDANCE SOFTWARE

1) Intermediate Analysis & Reporting – Sterling, VA December 2nd – 5th 2003 (32 hrs)
2) Introductory Computer Forensics – Sterling, VA August 12th – 15th 2003 (32 hrs)
3) Introductory Computer Forensics – Sterling, VA September 16th – 19th 2003 (32 hrs)
4) Incident Response, Forensic Analysis & Discovery – Sterling, VA September 29th – October 3rd 2003 (40 hrs)
5) Introductory Computer Forensics – Sterling, VA January 6th – 9th 2004 (32 hrs)
6) Introductory Computer Forensics – Sterling, VA August 10th – 13th 2004 (32 hrs)
7) Introductory Computer Forensics – Sterling, VA June 28th – July 1st 2005 (32 hrs)
8) Intermediate Analysis & Reporting (Special Class for U.S. Military) – Sterling, VA October 16th – 20th 2006 (40 hrs)
9) EnCase® Computer Forensics II – Sterling, VA January 29th – February 4th 2007 (32 hrs)
10) EnCase® Computer Forensics I – Sterling, VA April 23rd – April 29th 2007 (32 hrs)
11) EnCase® Computer Forensics I – Sterling, VA September 11th – September 14th 2007 (32 hrs)



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         — EXHIBIT 7 —
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                                  ([KLELW%



                        DECLARATION OF STEPHEN M. BUNTING

I, STEPHEN M. BUNTING, DO HEREBY DECLARE:

       1.      My name is Stephen Michael Bunting. I am over the age of twenty-one (21), and I

am competent to make this Declaration. I make this Declaration voluntarily and the facts stated

herein are based on my personal knowledge and information.

       2.      Attached hereto as Exhibit “A” is a true and accurate copy of my Curriculum Vitae

which truly and accurately represents my relevant employment history, training, experience,

certifications, and expert-witness experience.

       3.      I currently work as Director of Services for SUMURI, LLC and as independent

forensic consultant as owner of Bunting Digital Forensics, LLC. Prior to that, I was a police officer

from 1980 until 2009 with the University of Delaware Police from which I retired as a Captain.

During the last ten years with the University of Delaware Police, I was in charge of the digital

forensics and cyber investigations unit, that I founded. From 2009 until early 2013, I was a Senior

Forensic Consultant with Forward Discovery, LLC, which in late 2012 was acquired by Alvarez

and Marsal (NY) where I was a manager in the digital forensics division. I founded Bunting Digital

Forensics, LLC in early 2013.

       4.      I have taken hundreds of hours of training in digital forensics, network forensics,

and cyber investigations. I have provided training in the same topic areas, from beginner to expert

levels, to members of various local, state, and federal law enforcement agencies and private sector

examiners.    I have trained like personnel internationally in over twenty-one (21) different

countries. I have provided training, as either a part-time employee or contractor, for Guidance

Software, Magnet Forensics, MicroSystemation, A.B., Organization of American States, and the




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U.S. Department of State Anti-Terrorism Assistance Program (Cyber Division). I have developed

digital forensic or cyber training programs for several government and private entities.

       5.      I hold several industry-related certifications. I was the recipient of the 2002

Guidance Software Certified Examiner Award of Excellence for receiving the test score on my

certification examinations. Among my varied certifications I am an EnCase Certified Examiner

EnCE (Guidance Software), an AccessData Certified Examiner (ACE), Certified Computer

Forensics Technician (HTCN), and a Certified XRY Instructor.

       6.      I am the principle author of EnCase Computer Forensics - The Official EnCE:

EnCase Certified Examiner Study Guide, 3rd Edition, the co-author of Mastering Windows

Network Forensics and Investigation, the author of EnCase Computer Forensics—The Official

EnCE: EnCase Certified Examiner Study Guide, 2nd Edition, and the co-author of Mastering

Windows Network Forensics and Investigation 2nd Edition, the author of EnCase Computer

Forensics—The Official EnCE: EnCase Certified Examiner Study Guide, 3rd Edition (all

published by Wiley).

       7.      I have written numerous articles in the field of digital forensics over my career.

Most recently, I published two articles regarding spoliation examinations in which several peer-

to- peer cases on which I have consulted were referenced in a hypothetical context: Forensic

Analysis of Spoliation and Other Discovery Violations - Part 2 of a 2-Part Series - Windows

Examinations           -      eForensics         Magazine          -        December          2016

Forensic Analysis of Spoliation and Other Discovery Violations - Part 1 of 2-Part Series -

Macintosh Examinations - eForensics Magazine - October 2016

       8.      I have testified as a fact and expert witness numerous times in the field of computer

forensics before state and federal courts in Delaware and New Jersey. I have submitted affidavits,




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as an expert in digital forensics, on many matters in several states, including Delaware, Georgia,

and South Carolina.

       9.      No court has ever refused nor has any attorney ever challenged to accept my

testimony on the basis that I was not an expert or not qualified in the field of computer forensics.

       10.     As a digital forensics examiner I have acquired and examined hundreds of computer

systems and mobile devices for various local, state, and federal agencies, in addition to scores of

private clients. The types of cases or examinations include: homicide, child-exploitation, fraud,

Medicaid fraud, unlawful intrusion into computer systems (hacking), intellectual property theft,

research fraud, email forgery, criminal impersonation, forgery, sexual harassment, peer-to-peer,

and spoliation. I have acquired computer systems of many types, including servers, virtual servers,

desktops, and laptops. I have acquired hundreds of mobile devices (feature phones and smart

phones), both logically and physically. I also have acquired smart phones using JTAG and chip-

off techniques, both of which require disassembly and working with the printed circuit boards

inside a smart phone.

       11.     I have considerable experience with network-related cases, such as unlawful

intrusions and peer-to-peer cases. I have investigated or provided digital forensics support to

several unlawful intrusion incidents in both a law enforcement and a private sector capacity.

       12.      In the past, I have consulted with Computer Forensics, LLC, in copyright

infringement cases utilizing IPP’s technology. I’m familiar with the technology that was used in

those cases to detect the copyright infringement offenders.

       13.     As a police officer I received specialized training in conducting peer-to-peer

investigations by S.A. Flint Waters with the Wyoming Internet Crimes Against Children (ICAC)

Task Force. S.A. Waters developed the Wyoming Toolkit, a customized version of Phex, a peer-




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to-peer client on the Gnutella network. I participated with members of the State of Delaware ICAC

in this training program and afterwards in a task force conducting peer-to-peer investigations.

Using the Wyoming Toolkit, we searched for child sexual exploitation images and movies on the

peer-to-peer networks. When images were found, the software identified offending computers by

their IP addresses.1 The IP addresses hosting the illegal images are parsed by the toolkit using an

IP geolocation database by which offending IP’s are isolated or filtered to only those within our

police jurisdiction. Once offending IP’s were found in Delaware, we would request that the

Attorney General’s office submit subpoenas to the ISP (Internet Service Provider) for specific

customer information and address of the offending IP address. As IP addresses are often time-

specific, we submitted the exact date / time (along with time zone offset) for the offending IP

address. The ISP would return to us the customer or subscriber information (name, address,

account information, etc.) for the ISP in question. We would investigate further and obtain a search

warrant for the premises at which the IP was hosted. The search warrant would permit us to seize

all media and electronic devices capable of holding digital media, as we did not know specifically

which device behind the router was the offending device. The IP address detected by the peer-to-




1
  A public or internet routable IP address is a router or computer’s address on the internet at a specific time. IP
addresses uniquely identify a computer, as no two computers can have the same exact public, internet routable, IP
address at the same time. If the address is that of a router, the computer typically has a private address behind the
router. In a typical home network, the ISP provides a ‘box,’ which is often both a modem and a router / firewall /
DHCP server. The router has a public or internet facing IP address assigned to it. On the back side of the router,
several devices (computers, smart phones, etc.) are connected using private addresses. Thus, several devices in a
home network share the public internet routable address assigned to the ISP’s box (router). Other computers on the
internet, including peer- to-peer software, see and use the public facing IP address assigned to the customer’s router.
The router routes network traffic for specific devices on the private side or behind the router using a protocol called
NAT (Network Address Translation), thus assuring network traffic is sent to the correct computer. IP addresses, as
mentioned, are often time specific. These IP addresses are called dynamic IP addresses. They are assigned for certain
periods of time, called leases. There is great variability in how often dynamic IP addresses change, but because they
can and do change, the specific time of the offense is necessary to determine which subscriber was assigned a specific
IP address at a specific time. ISP’s maintain connection logs that record to whom a specific IP address is assigned
and exactly when. By contrast, an IP address can be a fixed IP address. Even they can change and, as an investigator,
you do not know which type a subscriber has and thus the exact time is always obtained and submitted to an ISP when
requesting subscriber information.


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peer software was the public facing internet addressable IP address of the router, which is

associated with the subscriber and their residence and not to a specific computer in the residence.

Because it was a criminal investigation, we requested that the subscriber not be notified of the

subpoena so that digital evidence would not be destroyed. Thus, in nearly all cases, the offending

subscribers were surprised by the execution of the search warrant. In all the times that we did so,

not once did the IP address lead to an innocent person’s residence. Rather, we always found

evidence therein of child sexual exploitation media on the computer system(s) therein.

       14.     I have found that the Wyoming Toolkit was a most reliable tool for identifying the

IP addresses for peer-to-peer clients that were hosting child sexual exploiting images and video.

       15.     Most recently, I tested the infringement detection software by a company called

MaverickEye UB (MEU). This software and hardware platform is owned and run by GuardaLey,

LTD (“GuardaLey”), a German company located in Eggenstein, Germany. It is my understanding

that GuardaLey’s system is also licensed to another German company called IPP International UG

(“IPP”).

       16.     I constructed and then conducted a test to determine the accuracy of the

GuardaLey’s system as to its ability to detect an infringing party’s IP address, identifying metadata

(client software and version used by infringer), and identifying the known test files distributed on

the torrent network. The manner in which GuardaLey’s system works and the manner in which

the software that I have used in my law enforcement capacity (Wyoming Toolkit) work to connect

a peer-to- peer violation with an IP and subsequently with a subscriber are quite similar. In fact,

in my opinion, GuardaLey’s system is much better with greater integrity features. Further, my test

confirmed that GuardaLey’s system is accurate. My report illustrating this conclusion is attached

hereto as Exhibit “B.”




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       17.      I have been retained by Strike 3 Holdings, LLC to provide digital forensic services

and consulting in matters of copyright infringement. I am paid on an hourly basis by Strike 3

Holdings, LLC at the rate of $250 / hour for my digital forensics services.

       18.      I have read through the Honorable Judge Royce C. Lamberth’s Memorandum

Opinion (“DC Opinion”) in the matter Strike 3 Holdings, LLC v. John Doe subscriber assigned IP

address 73.180.154.14, No. CV 18-1425, (D.D.C. Nov. 16, 2018). The instant declaration

specifically addresses the portion of the DC Opinion discussing the technology behind Strike 3

Holdings’ case. And more specifically, the portion of the DC Opinion which states:

       Since Bittorrent masks users’ identities, Strike 3 can only identify an infringing
       Internet protocol (IP) address, using geolocation technology to trace that address to
       a jurisdiction. This method is famously flawed: virtual private networks and onion
       routing spoof IP addresses (for good and ill); routers and other devices are
       unsecured; malware cracks passwords and opens backdoors; multiple people
       (family, roommates, guests, neighbors, etc.) share the same IP address; a
       geolocation service might randomly assign addresses to some general location if it
       cannot more specifically identify another.

STRIKE 3 HOLDINGS, LLC, Plaintiff, v. JOHN DOE subscriber assigned IP address

73.180.154.14, Defendant., No. CV 18-1425, 2018 WL 6027046, at *1 (D.D.C. Nov. 16, 2018).

       19.      Below, I address each of the foregoing issues in turn.

             Virtual Private Networks and Onion Routing Spoofing of IP Addresses

       20.      Often times, in cases involving cybercrimes and IP addresses, defendants claim that

their IP address was “spoofed.” However, in cases involving detection systems that connect to

peers using a TCP/IP connection, such as the Wyoming Toolkit, GuardaLey’s system, or IPP’s

system, spoofing cannot be accomplished.

       21.      IP spoofing is typically used in DDOS (denial of service) attacks. Indeed, specially

crafted network packets can be used to create denial of service attacks, but these packets are small

and usually involve repeatedly sending the same small crafted packet over and over again, creating



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a flood of messages that results in a denial of service attack. Creating a few small, specially crafted

packets that are sent repeatedly is a completely different task than trying to do so for a BitTorrent

stream, where tens of thousands of packets, mostly all of which are different, are involved.

       22.    With respect to spoofing in the BitTorrent context, in a practical sense, a very

technically adept person would have to know a victim’s IP address. This person would have to

physically connect a computer into the same network segment as the intended victim in order to

intercept the network traffic involved. Doing so would involve considerable knowledge and skills,

in and of itself, and could involve illegal access to a building or ISP network equipment. The

person would need to have the file in question on their computer, be sharing it using BitTorrent

software, and have some software or code capable of or rewriting tens of thousands of BitTorrent

packets on the fly, as any delay could cause a time-out. While many things are theoretically

possible, I am unaware of any such software being available. Such an endeavor would involve

tremendous effort and resources. In addition, the person would have to know that a particular file

was being monitored for copyright infringement downloading. And finally, such a person would

have to have a very strong motivation to undertake such a task and to target a particular person

and/or IP address. Considering all that would be involved in such an endeavor, it is so unlikely to

occur as to be nearly impossible.

       23.    Often IP spoofing, as described above, is interpreted or confused by many,

including Google’s search engine, with IP address hiding.           If you search for “IP spoofing

software,” you will find most of the search results will involve VPN (Virtual Private Network)

software. VPN software allows the user of a computer to create an encrypted tunnel to a VPN

server from which the internet traffic emerges unencrypted, provided of course it was unencrypted

to begin with. The VPN server’s internet facing IP address becomes the user’s public internet-




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routable IP address. It acts as a proxy and becomes the user’s frontend IP address on the internet.

VPN’s are intended for privacy of a user’s internet traffic and also for protecting the identity of a

user’s true IP address (the IP address which their ISP has assigned to them). If an infringer uses a

VPN to engage in BitTorrent file sharing, other peers within the swarm will be able to identify the

infringer by the infringer’s public facing internet routable IP address which would the VPN’s IP

address. In other words, when a VPN is being used, other peers can only trace the connection to

the front-end or public-facing, internet routable IP address – which would be the VPN IP address.

To obtain the true IP address of the user behind the VPN, one would have to contact the VPN

owner or manager. If the VPN owner maintain logs, and many intentionally do not, the connection

to the source can then be identified through the subpoena process.

       24.    In the past, I actually conducted a test on this exact VPN issue. Indeed, earlier this

year, when I tested Guardaley’s system, I also tested this VPN theory. To do so, I configured one

test laptop (MacBook Pro – High Sierra) with a VPN service. With the VPN enabled, I launched

Transmission (a popular BitTorrent client) and shared four separate test files. I noted the public,

internet-routable, frontend VPN IP address in use by the test laptop. After running this BitTorrent

configuration overnight using the VPN service, GuardaLey reported to me that their system

captured and downloaded the test files from the IP address that I had recorded for the test laptop.

It was, as expected, the IP address of the VPN server. Thus, a test of the scenario, establishes that

the VPN IP address, and not my true ISP’s IP address was being made public via the BitTorrent

network.

                               Unsecured Routers and Other Devices

       25.    The DC Opinion also lists concerns about unsecured routers and devices.




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       26.    During my time at Bunting Digital Forensics, LLC, I was involved in a case where

the owner of the computer and charged party was professing his innocence, claiming someone else

must have used his wireless network, citing a neighbor who reportedly engages in photography of

a questionable nature. However, the evidence on his computer suggested otherwise. The software

used by the investigators detected the name and version of the peer-to-peer software client

involved, which happened to match the one found on his machine. Further, the same exact images

detected by the investigative software were found on his machine. His claims were without merit

and in direct contradiction to the overwhelming digital evidence found on his computer.

       27.    Unsecured wireless routers in homes used to be commonplace 15 years ago. In

recent years, however, Internet Service Providers (ISP’s) have undertaken great effort to provide

and deploy secured wireless systems. Most “internet interface boxes” (combination modem /

router / firewall / DHCP server) which are rented to subscribers are preconfigured to operate with

WPA2 security with a complex password already set. These devices are secure out of the box with

strong encryption and complex passwords that are lengthy alpha numeric passphrases. Thus, valid

claims of compromised home wireless systems today are, in my experience, rare compared to 15

years ago.

                       Malware Cracks Passwords and Open Backdoors

       28.    The DC Opinion states, that “malware cracks passwords and opens backdoors.”

However, I have never heard of or encountered malware which accesses a user’s computer,

automatically downloads and installs a BitTorrent client, and then proceeds to download .torrent

files correlating to several of Plaintiff’s works over the course of several months.




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                           Multiple People Share the Same IP Address

       29.    Although there may be several household members who access the internet with

the same router, learning the identity of the subscriber to an IP address user in connection with

commission of a crime is instrumental, necessary, and the only means of learning the perpetrator’s

true identity – even if the subscriber is not the perpetrator.

       30.    And, in my experience, the IP address’s subscriber, or a family member thereof, is

likely the offending party.

                                      Geolocation Technology

       31.    Lastly, the DC Opinion states, “a geolocation service might randomly assign

addresses to some general location if it cannot more specifically identify another.”

       32.    Geolocation services are used to approximate locations of IP addresses. Such

geolocation services are often used as a tool in e-commerce fraud prevention measures. Further,

the Wyoming Tool Kit that I used as a law enforcement officer to identify offenders distributing

sexual exploitive images of children using peer-to-peer software, used commercial geolocation

services to obtain the approximate location of IP addresses for purposes of assigning IP addresses

to various law enforcement jurisdictions. Geolocation databases are not used to determining the

exact address of a subscriber of an IP address for purposes of executing a search warrant. Rather,

to determine an IP address subscriber’s physical address on which to execute a search warrant, law

enforcement relies on a subpoena that is served upon the ISP. When law enforcement uses this

technology and methodology to identify and arrest those creating and exchanging sexually

exploitive images of children, they are applauded for their efforts. Similarly, Strike 3 Holdings,

LLC uses geolocation services to determine an approximate location of an IP address so as to

identify a court with jurisdiction in that region. Once that court issues a subpoena, the exact name




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and specific physical address of the party responsible for the offending IP is identified. Strike 3

Holdings, LLC is, thus, using a process very much like that used by law enforcement.



FURTHER DECLARANT SAYETH NAUGHT

                                       DECLARATION

       PURSUANT TO 28 U.S.C SS 1746, I hereby declare under penalty of perjury that the

foregoing is true and correct.

Executed December 21, 2018.




  _____________________
________________________________

  ephen M. Bunting
Stephen




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                     EXHIBIT "
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                                         Curriculum Vitae of Stephen Michael Bunting
                                                 Bunting Digital Forensics, LLC  33579 Blue Heron Drive  Lewes, DE 19958
                                                                  Phone: +1.302.260.2633  E-Mail: stephenbunting@mac.com



Summary of Experience
      Mr. Bunting is an experienced digital forensics examiner and currently works as the Senior
      Manager of Services for SUMURI, LLC as an independent consultant and as CEO and Senior
      Forensic Consultant of Bunting Digital Forensics, LLC. Formerly Mr. Bunting was a
      Manager with Alvarez & Marsal (Sept 2012 to Feb 2013) and prior to that a Senior Forensic
      Consultant with Forward Discovery (Sept 2009 to Sept 2012). (Alvarez and Marsal acquired
      Forward Discovery in Sept 2012) His responsibilities with Bunting Digital Forensics, Alvarez
      & Marsal, and Forward Discovery include:

         •   Acquisition and forensic examination of digital media using industry standard forensics
             tools;
         •   Develop & instruct classes on Windows, Macintosh and Mobile Device Forensics;
         •   Develop & instruct classes on cyber investigations and related course work;
         •   Investigative consultation and digital forensics examinations in many areas including
             spoliation, theft of intellectual property, malware analysis, unlawful access of computer
             systems, theft of corporate resources, employee misuse of computer systems, Medicaid
             fraud, and support of various types of criminal investigations (prosecution only - no
             criminal defense work);
         •   Consult with clients and develop E-Discovery plans;
         •   Carry out electronic discovery processing from initial acquisition to final load file;
         •   Under sub-contract (multiple vendors) to the U.S. Department of State, develop &
             instruct various cyber-based anti-terrorism courses to international law enforcement
             agencies.
         •   Under Bunting Digital Forensics, instruct XRY Foundation, Intermediate, PinPoint,
             XAMN, and Kiosk Courses. Currently the only contract instructor for MSAB (XRY) in
             the U.S.
         •   Under Bunting Digital Forensics, instruct courses for Magnet Forensics as a contract
             instructor.
         •   Bunting Digital Forensics is under contract to SUMURI, LLC, whereby Steve Bunting
             manages the services division of SUMURI.
      Mr. Bunting retired from a law enforcement career spanning over three decades, during which
      he conducted hundreds of examinations of computer systems for the University of Delaware
      Police as well as federal, state, and local law enforcement and prosecutorial agencies. He is also
      a trained and experienced forensic video analyst using the Ocean Systems dTective® and Avid
      software systems. He is a frequent lecturer and instructor on computer forensics, cyber-crime,
      and incident response.
      Mr. Bunting has testified in many trials as a computer forensics expert. He was the recipient of
      the 2002 Guidance Software Certified Examiner Award of Excellence for receiving the highest
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                                                                                              Bunting CV
                                                                                                            Page 2




      test score on his certification examinations. Among his varied certifications he is an EnCase
      Certified Examiner EnCE (Guidance Software), an AccessData Certified Examiner (ACE),
      Certified Computer Forensics Technician (HTCN), Certified XRY Instructor, BERLA
      Certified Vehicle Forensics, Magnet Certified Forensics Examiner.
      Mr. Bunting is a retired a police captain, having served in the State of Delaware for over thirty-
      five years. He created and developed the University of Delaware Police Department’s
      Computer Forensic Lab. He has taught computer forensics for Guidance Software, makers of
      EnCase, and taught as a Lead Instructor at all course levels, including the Expert Series with
      particular emphasis on “Internet and Email Examinations” course. He has instructed students
      in computer forensics on an independent study basis for the University of Delaware and is an
      adjunct faculty member of Goldey-Beacom College, teaching computer forensics. He has been a
      presenter at several seminars and workshops, the author of numerous “white papers”, the
      principle author of EnCase Computer Forensics - The Official EnCE: EnCase Certified Examiner
      Study Guide, 3rd Edition, the co-author Mastering Windows Network Forensics and Investigation , the
      author of EnCase Computer Forensics—The Official EnCE: EnCase Certified Examiner Study Guide,
      2nd Edition, the co-author Mastering Windows Network Forensics and Investigation 2nd Edition, the
      author of EnCase Computer Forensics—The Official EnCE: EnCase Certified Examiner Study Guide,
      3rd Edition (all published by Wiley), and maintains a website for cyber-crime and computer
      forensics issues.


Recent Consulting Engagements
      While Mr. Bunting engages in a significant number of instructional endeavors, a number of
      consulting engagements have been untaken. Some of those engagements are described below:
      Recovered data from an Android phone that had been underwater and was delivered ‘in pieces’.
      Using chip-off technique, all data was fully recovered including data that had been deleted.
      Served as an expert for two defendants who were facing spoliation claims. Established that
      opposing expert had failed to discover settings whereby SMS’s messages were forwarded from
      an iPhone to a MacBook Pro. Opposing expert claimed SMS messages were deleted from the
      iPhone when in fact they were in the opposing expert’s possession on the MacBook Pro. Said
      deletions were offered as evidence of spoliation. Opposing expert also failed to find over 11,000
      AIM Messenger chats that were on the iPhone.
      Served as a trusted third-party digital forensic examiner in a Virginia case where a former
      employee was accused of theft of intellectual property, specifically programming code.
      Determined that accused party provided fabricated exhibits to examine in the form of a
      contrived MacBook Pro in which the time had been altered to appear to contain historical data
      when in fact it was only 3 weeks old.
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Conducted digital forensics examinations of computers believed to be involved in a
telecommunications fraud in the Middle East region, whereby perpetrators were conducting a
multi-million dollar fraud in a balance transfer scheme exploiting a software defect.
Conducts ongoing training and course development for the U.S Department of State’s Anti-
Terrorism Assistance Program Cyber Division. As such six to eight courses are delivered each
year in varying international locations.
Ongoing consultation with a digital forensics firm that specializes in examinations for
copyright infringement cases in the motion picture industry involving peer-to-peer clients to
download movies and other protected media.
Ongoing consultation with a digital security company in the UAE, providing incident response
support services.
Developed a new Macintosh Digital Forensics course for the Delaware State Police Child
Predator Task Force. The course is an in-depth program intended for those with significant
digital forensics experience. It includes a unique module entitled “Digging Deeper – Research
Techniques to Establish User Culpability”, which is the first of it kind.
Developed and delivered a virtual course entitled: Cyber Security Investigations: Incident
Response for the FedCTE program. The course was developed for virtual delivery using the
AvayaLive virtual classroom and first delivered on June 25, 2014.
Provided expert witness services establishing that the plaintiff fabricated an email submitted
during discovery in a civil matter. Testified in US District Court (Princeton, NJ) as expert for
defense in computer forensics analysis and email analysis in a hearing to dismiss based on
fraudulent documents offered into evidence by plaintiff. Specifically, testified that document
proffered as an email was in fact fabricated to appear as such. – July 09, 2014. The matter is
still under litigation.
As a member of a team, conducted an on-site assessment of a major middle east country’s
governmental cybercrime unit and digital forensics unit, prepared gap analysis reports, and
prepared recommendations for creating ISO 17025 compliant laboratory operations, a modern
cybercrime investigation and intelligence gathering unit, as well as country-wide expansion of
capabilities for both units.
Assigned as principal leak investigator for a major mobile device manufacturer. Investigated
significant intellectual property losses on a global basis.
Conducted a security assessment, as part of a team, of a Caribbean country’s government IT
infrastructure and made recommendations for securing their systems according to best
practices.
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       Conducted computer forensic examination of all computers from a dental practice in a Medicaid
       fraud case. Examination involved reconstruction of a dental practice’s business transactions
       spanning several years through analysis of SQL transaction logs from Patterson’s Eaglesoft
       dental practice software. The findings in the report submitted substantiated ongoing fraud and
       induced a guilty plea, resulting in the incarceration of the offending dentist.
       Conducted computer forensic examination of over two-dozen laptops belonging to employees
       of a major brand integrity unit, which investigates and mitigates brand piracy for its parent
       company. The unit was distributed in six countries and had been accused of various breaches of
       duty and unlawful acts. The examination took several months to complete and findings
       documented and substantiated the majority of the allegations, resulting in the dismissal of
       several employees.


Certifications
       Magnet Certified Forensics Examiner                                               March 2018
       BERLA Certified Vehicle Forensics                                                 September 2017
       Certified XRY Instructor, MSAB (Sweden)                                           October 2013
       Certified ACE AccessData Certified Examiner                                       April 2011
       Certified iPhone Examiner, MSAB                                                   November 2010
       Certified XRY Complete Examiner, MSAB                                             October 2010
       Certified LAW PreDiscovery Administrator, LexisNexis                              January 2010
       Certified LAW PreDisovery User, LexisNexis                                        January 2010
       Certified Computer Forensic Technician, High Tech Crime Network                   September 2001
       EnCase Certified Examiner, Guidance Software                                      April 2002
       Certified Cell Phone Examiner, Paraben Corporation,                               May 2005
       Certified PDA Examiner, Paraben Corporation                                       May 2005
       State of Delaware Council on Police Training Certified Police Officer             April 1975


Employment History

       SUMURI, LLC – Camden, DE – Senior Manager of Services – November 2016 to present
                 • Provide management services for SUMURI’s Services Division
                 • Develop and carry out the business plan for services
                 • Coordinate services, match resources with service needs, and ensure quality control
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       •Conduct digital forensic examinations and investigations


Bunting Digital Forensics, LLC – Lewes, DE – CEO & Senior Digital Forensic Consultant –
February 2013 to present
       • Conduct digital forensics examinations on a variety of media, including mobile devices
       • Develop training programs for various cyber related topics
       • Deliver training programs as an independent contractor for the Antiterrorism Assistance
       Program Cyber Division (see NDI below)
       • Conduct assessments of digital forensics laboratories, conduct a gap analysis, and recommend
       a roadmap for improvements leading to accreditation
       • Conduct specialized digital forensics examinations in support of Medicaid fraud cases
Microsystemation (MSAB) – Stockholm, Sweden – Contract instructor for XRY training courses –
October 2013 to present
       Teach XRY Mobile Device Forensic Solutions Courses
Alvarez and Marsal, Washington, DC – Manager, Forensic Technology Services – September 2013 to
February 2013
       • Develop and deliver a variety of training courses, including Macintosh Forensics, Incident
       Response, and Advanced Digital Forensics Courses.
       • Developed and facilitated a table top training exercise to test and enhance the incident
       response capabilities of a large web hosting company
       • Conduct digital forensic examinations on media associated with compromised systems.
       • Interim Management, specifically Principle Leak Investigator for a large telecommunications
       company experiencing a significant loss of intellectual property.
Forward Discovery, Inc – San Antonio, TX – Senior Forensic Consultant – September 2009 to
September 2012
       Information security company that provides digital investigation, electronic discovery,
       vulnerability assessments and training services to corporate and government clients.
       • Acquisition and forensic examination of digital media using industry standard forensics tools
       • Develop & Instruct classes on Windows, Macintosh and Mobile Device Forensics
       • Develop & Instruct classes on Cyber Investigations and related course work
       • Investigative consultation in areas including theft of intellectual property, malware analysis,
       unlawful access of computer systems, theft of corporate resources, employee misuse of computer
       systems, and support of various types of criminal investigations (prosecution only - no criminal
       defense work).
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       • Consult with clients and develop E-Discovery plans
       • Carry out electronic discovery processing from initial acquisition to final load file
Network Designs, Inc. – McLean, VA – Senior Instructor ATA Cyber Division as an Independent
Contractor – September 2009 to present. On a contract basis to NDI, work as a Senior Instructor
supporting the U.S Department of State Anti-Terrorism Assistance Program's Cyber Division, which
included the following:
       • Develop training modules for new training programs
       • Provide advisement, briefings and presentations to foreign law enforcement officers on areas
       including cyber terrorism and cyber crime
       • Provide technical computer investigation training to law enforcement and governmental
       agencies worldwide. Course taught include: Identification & Seizure of Digital Evidence,
       Introduction to Digital Forensics & Investigations, Macintosh Forensics, Cell Phone Forensics
       Consultation, EnCase Software Consultation, Server Incident Response (ADFC), Fundamentals
       of Network Security, Cyber Unit Management Consultation Proactive Internet Investigations
       Course, Forensic Equipment Grant Consultation, and Digital Forensic Lab Mentoring and
       Consulting.


Guidance Software – Pasadena, CA – Part-time Instructor - 2004 - 2005.

   • Lead instructor teaching courses at all levels (Beginning to Expert)

   • Assisted in course development and review


University of Delaware Police Department – Newark DE – Captain - July 1980 to August 2009.
Principle duties were:

   • Computer Forensics Unit

   • Accreditation

   • Southern Operations
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Education

      University of Delaware - Computer Applications Certificate – Concentration in Network
      Environments - August 2004

      Wilmington College - Bachelor of Science Applied Professions / Business Management - May
      1986

      Delaware Technical and Community College - 52 credit hours in the Criminal Justice Program

      University of Delaware - Associate in Art - May 1973

Publications

      Forensic Analysis of Spoliation and Other Discovery Violations - Part 2 of a 2-Part
      Series - Windows Examinations - eForensics Magazine - December 2016

      Forensic Analysis of Spoliation and Other Discovery Violations - Part 1 of a 2-Part
      Series - Macintosh Examinations - eForensics Magazine - October 2016

      EnCase Computer Forensics—The Official EnCE: EnCase Certified Examiner Study
      Guide, 3rd Edition - author - Wiley - September 2012

      Mastering Windows Network Forensics and Investigation (one of four co-authors) -
      Wiley - 2012

      EnCase Computer Forensics—The Official EnCE: EnCase Certified Examiner Study
      Guide, 2nd Edition - author - Wiley - November 2007

      Mastering Windows Network Forensics and Investigation (one of two co-authors) -
      Wiley - April 2007

      Encase Computer Forensics—The Official EnCE: Encase Certified Examiner Study
      Guide - primary author - Wiley - January 2006

Memberships and Affiliations
      Infragard – secure member of the Wilmington, Delaware Chapter since June 2004.
      High Technology Crime Investigation Association - member since August 2002.
      High Tech Crime Network - member from September 2001 to date.
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      National White Collar Crime Center - designated agency contact person for agency
      membership in the organization - January 2001 to 2009.


Courses Recently Developed
      Chip-off / JTAG Bootcamp – A two-day course intended for stand-alone or to supplement a
      forensic software course. A pilot was recently delivered in January 2017.
      Macintosh Digital Forensics – A new course for delivery by Bunting Digital Forensics to
      various clients. August 2015.
      Cyber Security Investigations: Incident Response – New course development and delivery (part
      of two-person teams) – course was created for virtually delivery using the AvayaLive virtual
      classroom, with first delivery on June 25, 2014.
      Mastering Macintosh Forensics – Rewrite (part of a four-person team) – Alvarez & Marsal for
      U.S. Department of State ATA – February 2013 – March 2013
      Introduction to Digital Forensics and Investigation - Rewrite (part of two-person team) - U.S.
      Department of State ATA (Humtech) May 2012 - January 2013
      Windows Server Incident Response - New course (part of two-person team) - Organization of
      American States May 2012 - Sept 2012
      Advanced Digital Forensics Consultation (Windows / Linux / Macintosh Server Incident
      Response), New course (solo assignment) plus developed and built portable server lab -U.S.
      Department of State ATA - Sept 2011 - March 2012
      Mastering Macintosh Forensics - New course (solo assignment) - U.S. Department of State
      ATA - Jan - June 2011


Languages
      Primary language is English, however during last several years have spent considerable time
      teaching and consulting in Latin American countries through interpreters, during which some
      Spanish skills have been acquired. Currently have the ability and experience demonstrating,
      teaching, and using EnCase and XRY software using the Spanish interface.


Teaching and Presentation Experience
      Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Aug 6
      – 10, 2018, Naperville, IL.
      Digital Forensic Lab Mentoring and Consulting - U.S. Department of State ATA, July 23 –
      Aug 3, 2018, Beirut, Lebanon.
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Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – June
18 – 22, 2018, Naperville, IL.
Magnet AXIOM Forensics Course (Online) -Magnet Forensics - Apr. 24-27 2018
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Dec
11-15, 2017, Nigerian MOI in Dubai, UAE.
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Nov
27- Dec 1, 2017, Nokesville, VA.
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Aug
21-25, 2017, Lansing, MI.
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Mar
6-10, 2017, Singapore.
Chip-off Forensics Bootcamp – Sumuri, LLC – January 30, 2017, Dover, DE.
Foundation, Intermediate, XAMN XRY Mobile Phone Forensics – Micro Systemation, A.B. –
Oct 24-28, 2016, Nairobi, Kenya.
Introduction to Digital Forensics and Investigation - U.S. Department of State ATA, July 18 -
29, 2016, Shillong, Meghalaya - India.
Identification & Seizure of Digital Evidence - U.S. Department of State ATA – July 6-15, 2016
– Shillong, Meghalaya – India.
Foundation XRY Mobile Phone Forensics – Micro Systemation, A.B. – May 16-17, 2016, U.S.
Secret Service National Computer Forensics Institute Hoover, AL.
Foundation and Intermediate XRY Mobile Phone Forensics (private course for 5 members of
the Kingdom of Saudi Arabia Ministry of the Interior) – Micro Systemation, A.B. – May 9-13,
2016, London, UK.
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Feb
22-26, 2016, Jakarta, Indonesia.
Mobile Device Forensics Consultation, U.S. Department of State ATA, Feb 8-19, 2016, Jakarta,
Indonesia.
Foundation & Kiosk XRY Mobile Phone Forensics - Micro Systemation, A.B. – Feb 2-4, 2016 –
Singapore
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Oct
21-25, 2015 – Washington, DC
Proactive Internet Investigations Course - U.S. Department of State ATA – Aug 10 - 21, 2015
– Mexico City, Mexico
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EnCase Transition Training, Bunting Digital Forensics Custom Course, May 26 – 27, 2015
Delaware State Police Child Predator Task Force, Dover, DE
Foundation and Intermediate XRY Mobile Phone Forensics (private course for 5 members of
the Kingdom of Saudi Arabia Ministry of the Interior) – Micro Systemation, A.B. – May 18-22,
2015 – New York, NY
Introduction to Digital Forensics and Investigation - U.S. Department of State ATA, May 3 -
14, 2015, Muscat, Oman
EnCase I (Guidance Software Course - ATP) – Abu Dhabi Police Department – Mar 1 – Mar 5,
2015 – Abu Dhabi, United Arab Emirates
Proactive Internet Investigations Course - U.S. Department of State ATA – Jan 26 - Feb 6,
2015 – Cuernavaca, Mexico
Identification & Seizure of Digital Evidence - U.S. Department of State ATA – Jan 16-23, 2015
– Cuernavaca, Mexico
Proactive Internet Investigations Course - U.S. Department of State ATA – Nov 17 - 28, 2014
– Tijuana, Mexico
Identification & Seizure of Digital Evidence - U.S. Department of State ATA – Nov 6-14, 2014
– Tijuana, Mexico
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Oct
20-24, 2014 – Alexandria, VA
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Sep
22-26, 2014 – Santiago, Chile
Proactive Internet Investigations Course – U.S. Department of State ATA – August 11 – 22,
2014 – Ciudad de México, México
Digital Forensic Lab Mentoring and Consulting – Lead Instructor - U.S. Department of State
ATA, July 14 – 25, 2014, Medellin & Bucaramanga, Colombia
Cyber Security Investigations: Incident Response – U.S. Department of State FedCTE
Program – June 24, 2014, Virtual Class - AvayaLive
Digital Forensic Lab Mentoring and Consulting – Lead Instructor U.S. Department of State
ATA, May 5 – 16, 2014, Cali & Pereira, Colombia
Digital Forensic Lab Mentoring and Consulting - U.S. Department of State ATA, Mar 24 –
Apr 4, 2014, Bogota, Colombia
Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Apr
7-11, 2014 – Alexandria, VA
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Foundation and Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Mar
3-7, 2014 – Vancouver, BC
Proactive Internet Investigations Course - Lead Instructor - U.S. Department of State ATA –
Jan 27 – Feb 7, 2014 – Cuidad Juarez, Mexico
Identification & Seizure of Digital Evidence - U.S. Department of State ATA – Jan 20-25, 2014
– Cuidad Juarez, Mexico
Intermediate XRY Mobile Phone Forensics – Micro Systemation, A.B. – Nov 20-22, 2013 –
San Diego, CA
Identification & Seizure of Digital Evidence - U.S. Department of State ATA – Nov 4-9, 2013 –
Chihuahua, Mexico
Computer Forensics for Legal Professionals, September 24, 2013, Widener University School
of Law, Wilmington, DE
Introduction to Digital Forensics and Investigation - Lead Instructor - U.S. Department of
State ATA, September 2-13, 2013, Mexico City, Mexico
Digital Forensic Lab Mentoring and Consulting - U.S. Department of State ATA, July 15-26,
2013, Dakar, Senegal
Introduction to Digital Forensics and Investigation (New Version Pilot) - Lead Instructor -
U.S. Department of State ATA, April 8-19, 2013, Manila, Philippines
Identification & Seizure of Digital Evidence - Lead Instructor - U.S. Department of State ATA
– Mar 9-17, 2013 – Muscat, Oman
Identification & Seizure of Digital Evidence - U.S. Department of State ATA - Feb 11-21, 2013
- Dakar, Senegal
Mastering Macintosh Forensics, Alvarez & Marsal, Oct 29 - Nov 2, 2012, 2012, Washington,
DC
Incident Response Tabletop Exercise, large web hosting client, Oct 16-17, 2012, San Antonio,
TX
Macintosh Incident Response, HTCIA, Sept 16-19, 2012, Hershey, PA
Windows Server Incident Response - Lead Instructor - Organization of American States, Sept
3-7, 2012, Trinidad & Tobago
Fundamentals of Network Security, U.S. Department of State ATA, July 23 - Aug 3, 2012,
Bogota, Colombia
Introduction to Digital Forensics and Investigation (Pilot for revised program) - U.S.
Department of State ATA, April 23 - May 4, 2012, Mexico City, Mexico
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Mastering Macintosh Forensics, Ocean County Prosecutor’s Office, April 16-20, 2012, Tom’s
River, NJ
Advanced Digital Forensics Consultation (Windows / Linux / Macintosh Server Incident
Response), Developer and Lead Instructor - U.S. Department of State ATA Mar 5-16, 2012,
Bogota, Colombia
Cyber Unit Management Consultation, U.S. Department of State ATA, Sept 5-16, 2011,
Bogota, Colombia
Cell Phone Forensics Consultation, U.S. Department of State ATA, July 11-22, 2011, Antigua.
Macintosh Forensics & Advanced Forensics Consultation, Developer and Lead Instructor -
U.S. Department of State ATA, June 6-17, 2011, Bogota, Colombia.
Forensic Equipment Grant Consultation, U.S. Department of State ATA, May 17-31, 2011,
Bangkok, Thailand
Introduction to Digital Forensics and Investigation - U.S. Department of State ATA, May 2-
13, 2011, Mauritius
Advanced Forensic Acquisition & Analysis - Delaware ICAC - March 21-25, 2011, Dover, DE
Forensic Acquisition & Analysis - Delaware ICAC- Feb 21-25, 2011, Dover, DE
Cyberbullying - Cape Henlopen High School - January 27, 2011, Lewes, DE
Software Consultation: EnCase 1 & EnCase 2, U.S. Department of State ATA, Jan 10-21, 2011,
Bangkok, Thailand
Incident Response & Forensic Tools Overview - Delaware Cyber Terrorism Exercise, Oct 27,
2010, Smyrna, DE
Identification & Seizure of Digital Evidence - U.S. Department of State ATA - June 3 - 11, 2010
- Mexico City, MX
EnCase Computer Forensics I – Lead Instructor - North Carolina ICAC- April 26 - 30, 2010 -
Raleigh - Durham, NC
EnCase Computer Forensics II – Lead Instructor - Sidley Austin LLP - February 22 - 25, 2010
- Chicago, IL
EnCase Computer Forensics I - Qatar National Bank - October 11 - 15, 2009 - Doha, Qatar
EnCase Computer Forensics I - Abu Dhabi Police Department - October 4 - 8, 2009 - Abu
Dhabi, UAE
Introduction to Computer Forensics - University of Delaware Police - August 17-21, 2009 -
Lewes, DE
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Advanced Computer Forensics Techniques - Computer Forensics Analysis and Training
Center - June 4-5, 2009 - Sharon Hill, PA.
Cyberbullying - May 11, 2009 - Long Neck Elementary School - Millsboro, DE
“Computer Forensics - Current State and Future Challenges” - Computer Crimes Colloquium -
April 7, 2009 - Wilmington University - Dover, DE
Identity Theft - City of Lewes Neighborhood Watch Meeting - March 23, 2009 - Lewes, DE
Disaster Recovery (CIS 486) - Goldey-Beacom College - January to March 2008 - Wilmington,
DE.
Forensic Acquisition and Analysis - November 16-20, 2008, Dubai Police Department, Dubai,
UAE
Cyber Stalking - Delaware Domestic Violence Council - Dover Police Department, November
7, 2008, Dover, DE
Computer Forensics (CIS 362) - Goldey-Beacom College - October to December 2008 -
Wilmington, DE.
Advanced Computer Forensics - September 22-26, 2008, Sidley - Austin in Chicago, IL
Computer Forensics Primer for the Press - September 17, 2008 - Delaware Valley Press Club -
Chester, PA.
Investigation Crimes Involving Computers - August 28-29, 2008 - Newark, DE.
Introduction to Computer Forensics - Computer Forensics and Analysis Training Center -
August 26-27, 2008 - Sharon Hill, PA.
Disaster Recovery (CIS 486) - Goldey-Beacom College - March to April 2008 - Wilmington,
DE.
Computer Forensics (CIS 362) - Goldey-Beacom College - October to December 2007 -
Wilmington, DE.
Computer Forensics for Medical / Legal Professionals - University of Delaware Special
Programs - November 9, 2007
Windows Network Investigations and Forensics - HTCIA Regional Training - June 19, 2007 -
Newark, DE
User Services - First Response to Crime Scenes Workshop - Special Interest Group on
University and College Computing Services - Edmonton, Canada - November 5, 2006
Cyber Stalking - Delaware Domestic Violence Council - November 16, 2006 - Dover, DE.
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Computer Forensics for Prosecutors - Delaware Attorney General Staff - September 28, 2006 -
Dewey Beach, DE.
CyberSpeak Podcast - Microsoft Log Parser Forensic Applications - June 3, 2006
CyberSpeak Podcast - User Assist Registry Key and Restore Point Forensics - May 13, 2006
Investigation of Cyber Incidents - University of Delaware System Administrators Group - May
17, 2006 - Newark, DE
Identity Theft and Cyber Safety - DuPont Experimental Station Staff - March 14, 2006 -
Wilmington, DE.
Computer Forensics for Prosecutors - Delaware Attorney General Staff - September 22, 2005 -
Lewes, DE.
First Response Issues for Crimes Involving Computers - Hosted by the U.S. Attorney’s Office -
September 16, 2005 - Dover, DE.
Examination of Photoshop Layer Data - RCFG GMU 2005 - August 15 & 18, 2005 - Fairfax,
VA
Cyber-sabotage, Espionage, & Other Security Threats, February 23, 2005, Lorman Education
Services, Newark, DE
Computer Forensics in the Courtroom, January 7, 2005, Widener University School of Law,
Wilmington, DE
Computer Forensics for Prosecutors - Delaware Attorney General Staff - September 30 -
October 1, 2004 - Dewey Beach, DE.
Forensic Examination of Peer-to-Peer Client Software Artifacts -NJSP High Tech Crime Unit.
September 22, 2004, Trenton, NJ.
Introductory Computer Forensics Guidance Software - Sterling, VA Jun 29 - Jul 2, 2004 (32
hrs) Lead Instructor
Internet / Email Examinations Guidance Software - Sterling, VA Jun 22 - 25, 2004 (32 hrs)
Lead Instructor
Email Examinations Lab at CEIC 2004 Myrtle Beach, SC Jun 6 - 9, 2004 (7.5 hrs - five
presentations) Lead Instructor
Photoshop Layer Metadata Examinations CEIC 2004 Myrtle Beach, SC Jun 8, 2004 (1.5
hrs) Lead Instructor
Introductory Computer Forensics Guidance Software - Sterling, VA Apr 27 - 30, 2004 (32 hrs)
Lead Instructor
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Internet / Email Examinations Guidance Software - Sterling, VA Mar 30 - Apr 2, 2004 (32 hrs)
Instructor
Internet / Email Examinations Guidance Software - Sterling, VA Feb 3-6, 2004 (32 hrs)
Instructor
Introductory Computer Forensics Guidance Software - Sterling, VA Jan 6-9, 2004 (32 hrs)
Lead Instructor
Internet / Email Examinations Guidance Software - Sterling, VA Nov 18-21, 2003 (32 hrs)
Instructor
Introductory Computer Forensics Guidance Software - Sterling, VA Oct 21-24, 2003 (32 hrs)
Instructor
Intermediate Analysis & Reporting Guidance Software - Sterling, VA Sept 9-12, 2003 (32 hrs)
Instructor
Introductory Computer Forensics Guidance Software - Sterling, VA Aug 12-15, 2003 (32 hrs)
Instructor
Introductory Computer Forensics Guidance Software - Sterling, VA July 8-11, 2003 (32 hrs)
Instructor
Intermediate Analysis & Reporting Guidance Software - Sterling, VA June 17-20, 2003 (32 hrs)
Instructor
Internet / Email Guidance Software - Sterling, VA May 6-9, 2003 (32 hrs) Instructor
Intermediate Analysis & Reporting Guidance Software - Sterling, VA Mar 4-7, 2003 (32 hrs)
Instructor
Introductory Computer Forensics Guidance Software - Sterling, VA Feb 25-28, 2003 (32 hrs)
Instructor
Internet Safety for Children - Winter / Spring 2003 semester offering through the University
of Delaware Continuing Education Division
Cyber-Stalking and Related Crimes Involving Computers: October 7, 2002 in Newark, DE.
Computer Crime Issues for Prosecutors: - Presented to the Wicomico County States Attorney’s
Office (4/20/01) and to the Attorney General’s Office for the State of Delaware Sex Crimes
Unit (10/4/02).
Computer Forensics: - during the spring semester 2002, supervised and directed an
independent course of study in computer forensics for a University of Delaware senior
majoring in computer science. Program was under the auspices of Professor Chien-Chung
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      Shen. Student is now employed with Price, Waterhouse, Cooper in the computer forensics
      division.
      The Internet as an Investigative Tool: Presented at the University of Delaware (5
      presentations: 12/5/00, 1/8/01, 8/6/01, 8/13/01, & 8/26-27/02), at the Eastern Shore
      Criminal Justice Academy (3 presentations: 2/16/01, 3/8/01, and 3/20/01), and at Mount St.
      Mary’s College (6/26/02).
      Computer Crimes: 1st Responder Issues - course developed and presented to the University of
      Delaware Police as a 2-hour block during in-service training. Presented May 31, 2001, June 7,
      2001, May 30, 2002, and June 5, 2002.


Training Courses Completed
      AX300 – AXIOM Advanced Mobile Examinations       Magnet Forensics – Oct 24-27, 2017 Sterling, VA
      iVE Vehicle Forensics                            Berla – Sep 25-29, 2017 Annapolis, MD
      AX200 - AXIOM Examinations                       Magnet Forensics – Sep 19-22, 2017 Online
      XRY Train-the-Trainer Training                   MSAB – Aug 30– Sep 1, 2017 Stockholm, SE
      XRY Version 7 Training                           MSAB – Aug 22–26, 2016 Stockholm, Sweden
      XRY Version 7 Training                           MSAB – Mar 28–Apr 1, 2016 Stockholm, Sweden
      XRY Advanced Acquisitions                        MSAB – Mar 21 – 25, 2016 Freehold, NJ
      XRY Advanced Applications Analysis               MSAB – Dec 14 – 18, 2015 Washington, DC

      XRY Train-the-Trainer Annual Training            MSAB – Sept 7-11, 2015 Stockholm, Sweden

                                                       MSAB – Sept 30- Oct 11, 2013 Stockholm,
      XRY Train-the-Trainer Course
                                                       Sweden

      FTK Bootcamp Version 3                           Access Data - April 5-7, 2011 - Online

      XRY Physical Acquisition & Analysis Training     MSAB - Oct 6-8, 2010 - Alexandria, VA

      XRY Logical Acquisition & Analysis Training      MSAB - Oct 4-5, 2010 - Alexandria, VA

      Basic Malware Analysis                           HB Gary - April 20-21, 2010 - Columbia, MD

      LAW PreDiscovery Certified Administrator Course LexisNexis - Jan 14, 2010 - Washington, D.C.

      LAW PreDiscovery EDD Certified User Course       LexisNexis - Jan 12-13, 2010 - Washington, D.C

                                                       Global Knowledge - Jan 26 - 30, 2009 -
      Microsoft Exchange Server 2007
                                                       Arlington, VA
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                                                 High Tech Crime Investigator’s Association - Oct
HTCIA Conference (24 hrs)
                                                 20-22, 2008, Atlantic City, NJ

                                                 Delaware State Police ICAC – Wyoming Tool Kit
Operation Fair Play (40 hrs)
                                                 Training - Mar 31-Apr 4, 2008, Dover, DE

                                                 Guidance Software - January 15 – 16, 2008,
Neutrino Cell Phone Forensics (16 hrs)
                                                 Sterling, VA.

                                                 Phoenix Data Group - October 15-19, 2007 -
Macintosh Forensics (40 hrs)
                                                 Sharon Hill, PA

Vista Forensics                                  Access Data - July 20, 2007 - Washington, DC

Advanced Windows Intrusion Investigator’s Course SYTEX - February 27 – March 3, 2006, FBI
(40 hrs)                                         Academy, Quantico, VA

Adobe Photoshop for Forensic Video Analysts ( 16 Resolution Video - December 14-15, 2005 -
hrs)                                             Reston, VA

Regional Computer Forensics Group Seminar (40    RCFG / HTCIA - August 15-19, 2005 - GMU -
hrs)                                             Fairfax, VA.

Cell Seizure (16 hrs)                            Paraben - May 18-19, 2005 in Newark, DE

PDA Seizure (16 hrs)                             Paraben - May 16-17, 2005 in Newark, DE

                                                 USSS / SEARCH - April 18-22, 2005 in Cherry
Enterprise Security & Vulnerability (36 hrs)
                                                 Hill, NJ

Access Data FTK Advanced Internet Training
                                                 Access Data - March 15 – 17, 2005 in Dover, DE.
Course (24 hrs)

Ocean Systems: dTective (Advanced Video Forensic Ocean Systems - Feb. 24 – 25, 2005 in
Analysis ) (16 hrs)                              Burtonsville, MD.

                                                 SYTEX - December 6 – 10, 2004, Ellicott City,
Advanced UNIX Investigator’s Course (40 hrs)
                                                 MD.

                                                 Guidance Software - November 16 – 19, 2004,
EnCase EnScript Programming (32 hrs)
                                                 Sterling, VA.

Networks and Networking for Agents / System      SYTEX - October 18 – 29, 2004, Ellicott City,
Security and Exploitation (80 hrs)               MD.

Law Enforcement Video Association Annual
                                                 LEVA - October 6 – 7, 2004 Washington, D.C.
Training Conference 2004 (16 hrs)
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NIJ Law Enforcement Technology Institute
                                                  NIJ - July 11 – 16, 2004, Washington, D.C.
2004 (40 hrs)

Computer and Enterprise Investigations Conference Guidance Software - June 6 – 9, 2004 in Myrtle
/ TechnoSecurity Conference 2004 (28 hrs)         Beach, SC.

Ocean Systems: dTective (Advanced Video Forensic Ocean Systems - May 6 – 7, 2004 in Burtonsville,
Analysis ) (16 hrs)                              MD.

Ocean Systems: Introduction to Forensic Video     Ocean Systems - May 3 – 5, 2004 in Burtonsville,
Examinations (24 hrs)                             MD.

Access Data FTK Intermediate Training Course
                                                  Access Data - April 5 – 7, 2004 in Dover, DE.
(24 hrs)

EnCase Expert Series: Internet & Email            Guidance Software - February 4 - 7, 2003 in
Examinations (32 hrs)                             Sterling, VA.

                                                  Guidance Software - January 21- 24, 2002 in
EnCase Advanced Computer Forensics (32 hrs)
                                                  Sterling, VA.

Introduction to Programming Concepts (Visual      University of Delaware Course - Wilm, DE – Fall
Basic 6) (50 hrs)                                 2002

Computer and Enterprise Investigations Conference Guidance Software - September 16-17, 2002
2002 (16 hrs)                                     Chantilly, VA.

Regional Computer Forensics Group Seminar (40     RCFG / HTCIA - August 12-16, 2002 - GMU -
hrs)                                              Fairfax, VA.

                                                  ACES / FBI / IRS / NCFS - July 23-25, 2002
ILook Computer Forensics Software (24 hrs)
                                                  Orlando, FL.

                                                  CSI / NIPC / FBI - May 22-23, 2002 MSP -
Firewalls and Virtual Private Networks (16 hrs)
                                                  Columbia, MD.

Internet Investigations and Child Exploitation
                                                  SEARCH - April 6, 2002, CCU - Conway, SC.
Overview (8 hrs)

                                                  The Training Company - April 7-10, 2002 -
Techno-Security 2002 Conference (28 hrs)
                                                  Myrtle Beach, SC

Enterprise Networks (50 hrs)                      University of Delaware - Wilm, DE - Spring 2002

                                                  Guidance Software - February 19-22, 2002 -
EnCase Advanced Computer Forensics (32 hrs)
                                                  Leesburg, VA.
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      LAN (Local Area Networks) (50 hrs)                     University of Delaware - Newark, DE - Fall 2001

                                                             Guidance Software - August 7-10, 2001 -
      EnCase Intermediate Computer Forensics (32 hrs)
                                                             Leesburg, VA .

                                                             The Training Company April 22-25, 2001 -
      Techno-Security 2001 Conference (28 hrs)
                                                             Myrtle Beach, SC

                                                             University of Delaware - Newark, DE -
      WAN (Wide Area Networks) (50 hrs)
                                                             Spring 2001

      Advanced Data Recovery and Analysis Course (40
                                                             NW3C - October 23-27, 2000 - Fairmont, WV.
      hrs)

                                                             NW3C / IFCC - October 12, 2000 - Fairmont,
      The Internet as in Investigative Tool (8 hrs)
                                                             WV.

      Basic Data Recovery and Analysis Course (40 hrs)       NW3C July 24-28, 2000 in Myrtle Beach, SC.


Computer Forensics Expert Witness Experience
      Crawford and Company v Larry W. Daniel and Cunningham Lindsey Claims Management, Inc Civil
      Case No 17-1-01244 – Superior Court of Cobb County State of Georgia – Submitted affidavit on
      September 12, 2017 on behalf of Crawford that an iPhone submitted by the defendant as part of
      electronic discovery had the messages set to delete after 30 days and that the user has enabled backup
      encryption, thereby preventing the contents from being acquired. Case settled without going to trial.
      AdMarketer, LLC and Credit Benefit Services, LLC v Isaac “Zack” Bernato; Dennis H. James; CRM
      Holding Company, LLC; IMT Marketplace, LLC; World Clicks, LLC; and Valerie DiNardo – Civil
      Action File No: 2015CV267337 in the Superior Court of Fulton County State of Georgia – Submitted
      affidavit on March 31, 2017 on behalf of the defendant that opposing expert had made a finding that
      defendant had deleted messages, thuls supporting a spoliation claim. Affidavit stated that opposing
      expert had not discovered iPhone message setting for ‘delete after 30 days’ nor had he discovered that
      SMS forwarding was enabled, enabled specifically to a Mac laptop that was in the possession of the
      opposing expert and which opposing expert had failed to examine. This laptop contained all the chat
      messages that the expert claimed were deleted. Further the affidavit stated that the opposing expert
      had used only one tool in his examination and in doing so missed over 11,000 AIM messages, many of
      which were relevant to the case. Defendants filed bankruptcy and case settled without trial.
      Tamika Covington vs International Association of Approved Basketball Officials, Board 193, et al.
      (CIVIL ACTION NO. 3:08-cv-03639) - US District Court (Princeton, NJ) – Testified as expert for
      defense in computer forensics analysis and email analysis in a hearing to dismiss based on fraudulent
      documents offered into evidence by plaintiff. Specifically, testified that document proffered as an email
      was in fact fabricated to appear as such. – July 09, 2014.
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Network Computing Services Corporation vs Haynsworth, Sinkler, P.A. Belton T. Zeigler and John
Tiller (South Carolina) – Submitted two affidavits for the plaintiff regarding deleted emails in a case
alleging legal malpractice – April 2010
State of Delaware vs Irina Malinovskaya (3rd trial - Murder 1st) – Testified as computer forensics
expert regarding analysis of defendant’s computer. Also testified that an email offered by the defendant
after the 2nd trial was fabricated and offered as evidence. The defendant was convicted of tampering
with physical evidence. - 2007
Cpl B. Kurt Price et al. vs Colonel L. Aaron Chaffinch et al. (US District Court) Submitted affidavit as to
wiping of a hard drive by the plaintiff - May 2006
State of Delaware vs Irina Malinovskaya (2nd trial - Murder 1st) Testified - 2006
State of Delaware vs Stephanie McMullen (Munchausen's Nurse case) Testified - 2006
State of Delaware vs Eric Kemske (Manufacture, distribute, possess child pornography – peer-to-peer
software involved) – Testified - 2005
State of Delaware vs Keith Appleby (Suppression Hearing - Computer Intrusion Case) Testified - 2003
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                                                                 Bunting Digital Forensics, LLC
                                                                 33579 Blue Heron Drive
                                                                 Lewes, DE 19958
                                                                 Phone: +1.302.260.2633
                                                                 www.BuntingDigitalForensics.us




  Expert Report – Testing of GuardaLey LTD’s MaverickEye UB (MEU) Copyright Infringement Detection System




Prepared by:    Stephen M. Bunting, EnCE, CCFT
                CEO / Senior Forensic Consultant
                Bunting Digital Forensics, LLC
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                                  DECLARATION OF STEPHEN M. BUNTING



           I, STEPHEN M. BUNTING, DO HEREBY DECLARE:

           1.        My name is Stephen Michael Bunting. I am over the age of twenty-one (21), and I

am competent to make this Declaration. I make this Declaration voluntarily and the facts stated

herein are based on my personal knowledge and information.

           2.        I currently work as Director of Services for SUMURI, LLC and as independent

forensic consultant as owner of Bunting Digital Forensics, LLC. Prior to that, I was a police officer

from 1980 until 2009 with the University of Delaware Police from which I retired as a Captain.

During the last ten years with the University of Delaware Police, I was in charge of the digital

forensics and cyber investigations unit, that I founded. From 2009 until early 2013, I was a Senior

Forensic Consultant with Forward Discovery, LLC, which in late 2012 was acquired by Alvarez

and Marsal (NY) where I was a manager in the digital forensics division. I founded Bunting Digital

Forensics, LLC in early 2013.

           3.        I have taken hundreds of hours of training in digital forensics, network forensics,

and cyber investigations. I have provided training in the same topic areas, from beginner to expert

levels, to members of various local, state, and federal law enforcement agencies and private sector

examiners. I have trained like personnel internationally in over twenty-one (21) different countries.

I have provided training, as either a part-time employee or contractor, for Guidance Software,

Magnet Forensics, MicroSystemation, A.B., Organization of American States, and the U.S.

Department of State Anti-Terrorism Assistance Program (Cyber Division). I have developed

digital forensic or cyber training programs for several government and private entities.




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           4.        I hold several industry-related certifications. I was the recipient of the 2002

Guidance Software Certified Examiner Award of Excellence for receiving the test score on my

certification examinations. Among my varied certifications I am an EnCase Certified Examiner

EnCE (Guidance Software), an AccessData Certified Examiner (ACE), Certified Computer

Forensics Technician (HTCN), and a Certified XRY Instructor.

           5.        I am the principle author of EnCase Computer Forensics - The Official EnCE:

EnCase Certified Examiner Study Guide, 3rd Edition, the co-author Mastering Windows Network

Forensics and Investigation, the author of EnCase Computer Forensics—The Official EnCE:

EnCase Certified Examiner Study Guide, 2nd Edition, the co-author Mastering Windows Network

Forensics and Investigation 2nd Edition, the author of EnCase Computer Forensics—The Official

EnCE: EnCase Certified Examiner Study Guide, 3rd Edition (all published by Wiley).

           6.        I have written numerous articles in the field of digital forensics over my career.

Most recently I published two articles regarding spoliation examinations in which several peer-to-

peer cases on which I have consulted were referenced in a hypothetical context:

                 Forensic Analysis of Spoliation and Other Discovery Violations - Part 2 of a 2-Part

                 Series - Windows Examinations - eForensics Magazine - December 2016

                 Forensic Analysis of Spoliation and Other Discovery Violations - Part 1 of 2-Part

                 Series - Macintosh Examinations - eForensics Magazine - October 2016

           7.        I have testified as a fact and expert witness numerous times in the field of computer

forensics before state and federal courts in Delaware and New Jersey. I have submitted affidavits,

as an expert in digital forensics, on many matters in several states, including Delaware, Georgia,

and South Carolina.

           8.        No court has ever refused nor has any attorney ever challenged to accept my

testimony on the basis that I was not an expert or not qualified in the field of computer forensics.


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           9.        As a digital forensics examiner I have acquired and examined hundreds of computer

systems and mobile devices for various local, state, and federal agencies, in addition to scores of

private clients. The types of cases or examinations include: homicide, child-exploitation, fraud,

Medicaid fraud, unlawful intrusion into computer systems (hacking), intellectual property theft,

research fraud, email forgery, criminal impersonation, forgery, sexual harassment, peer-to-peer,

and spoliation. I have acquired computer systems of many types, including servers, virtual servers,

desktops, and laptops. I have acquired hundreds of mobile devices (feature phones and smart

phones), both logically and physically. I also have acquired smart phones using JTAG and chip-

off techniques, both of which require disassembly and working with the printed circuit boards

inside a smart phone.

           10.       I have considerable experience with network-related cases, such as unlawful

intrusions and peer-to-peer cases. I have investigated or provided digital forensics support to

several unlawful intrusion incidents in both a law enforcement and a private sector capacity.

           11.       As a police officer I received specialized training in conducting peer-to-peer

investigations by S.A. Flint Waters with the Wyoming Internet Crimes Against Children (ICAC)

Task Force. S.A. Waters developed the Wyoming Toolkit, a customized version of Phex, a peer-

to-peer client on the Gnutella network. I participated with members of the State of Delaware ICAC

in this training program and afterwards in a task force conducting peer-to-peer investigations.

Using the Wyoming Toolkit, we searched for child sexual exploitation images and movies on the

peer-to-peer networks. When images were found, the software identified offending computers by

their IP addresses Note 1.
                      Note 1:
                                A public or internet routable IP address is a router or computer’s address on
                      the internet at a specific time. IP addresses uniquely identify a computer, as no two
                      computers can have the same exact public, internet routable, IP address at the same
                      time. If the address is that of a router, the computer typically has a private address

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                      behind the router. In a typical home network, the ISP provides a ‘box’, which is
                      often both a modem and a router / firewall / DHCP server. The router has a public
                      or internet facing IP address assigned to it. On the back side of the router, several
                      devices (computers, smart phones, etc) are connected using private addresses. Thus
                      several devices in a home network share the public internet routable address
                      assigned to the ISP’s box (router). Other computers on the internet, including peer-
                      to-peer software, see and use the public facing IP address assigned to the customer’s
                      router. The router routes network traffic for specific devices on the private side or
                      behind the router using a protocol called NAT (Network Address Translation), thus
                      assuring network traffic is sent to the correct computer.


                      IP addresses, as mentioned, are often time specific. These IP addresses are called
                      dynamic IP addresses. They are assigned for certain periods of time, called leases.
                      There is great variability in how often dynamic IP addresses change, but because
                      they can and do change, the specific time of the offense is necessary to determine
                      which subscriber was assigned a specific IP address at a specific time. ISP’s
                      maintain connection logs that record to whom a specific IP address is assigned and
                      exactly when. By contrast, an IP address can be a fixed IP address. Even they can
                      change and, as an investigator, you do not know which type a subscriber has and
                      thus the exact time is always obtained and submitted to an ISP when requesting
                      subscriber information.


The IP addresses hosting the illegal images are parsed by the toolkit using an IP geolocation

database by which offending IP’s are isolated or filtered to only those within our police

jurisdiction. Once offending IP’s were found in Delaware, we would request that the Attorney

General’s office submit subpoenas to the ISP (Internet Service Provider) for specific customer

information and address of the offending IP address. As IP addresses are often time-specific, we

submitted the exact date / time (along with time zone offset) for the offending IP address. The ISP

would return to us the customer or subscriber information (name, address, account information,



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etc.) for the ISP in question. We would investigate further and obtain a search warrant for the

premises at which the IP was hosted. The search warrant would permit us to seize all media and

electronic devices capable of holding digital media, as we did not know specifically which device

behind the router was the offending device. The IP address detected by the peer-to-peer software

was the public facing internet addressable IP address of the router, which is associated with the

subscriber and their residence and not to a specific computer in the residence. Because it was a

criminal investigation, we requested that the subscriber not be notified of the subpoena so that

digital evidence would not be destroyed. Thus, in nearly all cases, the offending subscribers were

surprised by the execution of the search warrant. In all the times that we did so, not once did the

IP address lead to an innocent person’s residence. Rather, we always found evidence therein of

child sexual exploitation media on the computer system(s) therein.

           12.       I have found that the Wyoming Toolkit was a most reliable tool for identifying the

IP addresses for peer-to-peer clients that were hosting child sexual exploiting images and video.

           13.       In my experience, the IP address’s subscriber, or a family member thereof, is likely

the offending party.

           14.       I have been involved in a case where the owner of the computer and charged party

was professing his innocence, claiming someone else must have used his wireless network, citing

a neighbor who reportedly engages in photography of a questionable nature. However, the

evidence on his computer suggests otherwise. The software used by the investigators detected the

name and version of the peer-to-peer software client involved, which happened to match the one

found on his machine. Further, the same exact images detected by the investigative software were

found on his machine. His claims were without merit and in direct contradiction to the

overwhelming digital evidence found on his computer.




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           15.       Unsecured wireless routers in homes used to be commonplace 15 years ago. In

recent years, however, Internet Service Providers (ISP’s) have undertaken great effort to provide

and deploy secured wireless systems. Most “internet interface boxes” (combination modem / router

/ firewall / DHCP server) are preconfigured to operate with WPA2 security with a complex

password already set. These devices are secure out of the box with strong encryption and complex

passwords that are lengthy alpha numeric passphrases. Thus, valid claims of compromised home

wireless systems today are, in my experience, rare compared to 15 years ago.

           16.       In the past, I have consulted with Computer Forensics, LLC in copyright

infringement cases where spoliation was an issue. I’m familiar with the technology that was used

in those cases to detect the copyright infringement offenders.

           17.       I have been retained by Voltage Pictures, LLC to provide digital forensic services

and consulting in matters of copyright infringement. In anticipation of potential testimony in that

regard, I have undertaken tests of the infringement detection software used, which is MaverickEye

UB (MEU). This software and hardware platform is owned and run by GuardaLey, LTD, a German

company located in Eggenstein, Germany. The CEO and Senior Developer at GuardaLey is

Benjamin Perino.

           18.       Mr. Perino has written an export report describing the features and functions of this

proprietary software, MaverickEye UB, or MEU, in detail. I have read that report in its entirety.

           19.       The manner in which MaverickEye works and the manner in which the software

that I have used in my law enforcement capacity (Wyoming Toolkit) work to connect a peer-to-

peer violation with an IP and subsequently with a subscriber are quite similar. In fact, MaverickEye

UB, in my opinion, is much better with greater integrity features. Based on having read

Mr. Perino’s expert report on the function and features of the MaverickEye UB system, I note that

the MaverickEye UB system is better because of the following: The law enforcement software


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does not capture or retain any network packets, whereas MEU does. The law enforcement software

does not use a WORM drive to store evidence, whereas MEU does. The law enforcement software

is not housed or run in an ISO/IEC 270001:2013 compliant datacenter nor does it comply with PCI

security specification, whereas MEU does.

           20.       I constructed and then conducted a test to determine the accuracy of the

MaverickEye software as to its ability to detect an infringing party’s IP address, identifying

metadata (client software and version used by infringer), and identifying the known test files

distributed on the torrent network.

           21.       To test the MaverickEye software, I created four video files, ones I created and

owned from my archives. They were short clips of nature scenes, contained no people, and ones I

could readily identify on site as being unique and ones I had in fact created. I embedded identifying

metadata into these files, specifically my name, a description of the content, the data, and a

statement that was placing them into the public domain. I also created MD5 and SHA1 hashes of

each of the four files. A hash is an algorithm that produces a value that is best described as an

electronic fingerprint. Files that are identical will have the same MD5 each time it is hashed. The

slightest change by so little as one bit will produce a dramatically different hash value. Using this

method, file integrity can be assured. Using two different hash algorithms eliminates any possible

claims of hash value collisions.

           22.       I configured four different computers each with a different operating system and

each with a different bit torrent client software. Bit torrent client software is used to share files

over the bit torrent network using the bit torrent protocol. The below matrix, Table 1 below, shows

the test configurations:


                       Computer                  Operating System              Bit Torrent Client



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                  Dell Laptop E6510                Linux Ubuntu 16.04 LTS                       KTorrrent 4.3.1

                  Dell Laptop E5500                 Windows 7 Professional                      BitTorrent 7.10

                   HP Laptop Envy                   Windows 10 Enterprise                        uTorrent 3.5.1

              MacBook Pro 15” 2016                 High Sierra OS X 10.13.2                   Transmission 2.9.2

                        Touch Bar

             Table 1- The four test computers, their installed operating systems, and their installed bit torrent clients.

           23.       After configuring the above laptops, I installed and tested the latest version of

Wireshark on each laptop. Wireshark is a software tool that captures the network packets that

traverse or are transmitted over any particular network interface on the host computer. Thus, it is

a means of recording the traffic over the network. I have used Wireshark and its predecessor,

Ethereal, for many years in both my law enforcement and private sector careers. I have also trained

others to use it.

           24.       On a fifth machine, not part of the test, I created torrents of the test or known movie

files and allowed them to ‘seed,’ which means to share them on the torrent network and make them

available for others to download. I took the four torrent files and physically placed them on the

four test laptops, one unique file to each laptop. I started Wireshark on each test machine to capture

the download and loaded the torrent files in each laptop’s client software. In short order, each

torrent file was able to locate the file and download it from the source machine that was initially

sharing all four files. In so doing, the client software on each test machine was found to be working

as designed. On each test machine, the newly downloaded movie file appeared to be identical to

the original known files, as created. Each was found to contain the embedded metadata, including

my name. To be absolutely certain the downloaded files were identical to the source files, each file

was hashed and the hashes were found to be identical to those hashes the original files. The results

are shown below:


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         Computer                       File Name                   MD5 Hash Original             MD5 Hash Downloaded onto Test Machines

      Dell Laptop E6510         01CanadianGooseHenonNest.m4v   a13a318a02c32b0d1a8e276ae92227d8   a13a318a02c32b0d1a8e276ae92227d8

      Dell Laptop E5500            02GeeseHonkingOK.m4v        6cdca839624df3e7c202766964394069   6cdca839624df3e7c202766964394069

       HP Laptop Envy             03StripersJumpingOK.m4v      5ae4fbf8a2b73e131e3f8030ad99242c   5ae4fbf8a2b73e131e3f8030ad99242c

     MacBook Pro 15” TouchBar     04WinterWetlandsOK.m4v       36c24f6d10c86df4994e435b055d01f9   36c24f6d10c86df4994e435b055d01f9

                      Table 2 - Test computers, the test or known file shared by each, and their hash values

           25.           At this point in the test, the only sources for these four files anywhere were the four

test machines and the source machine on which they were created. The source machine torrent

client (Transmission) was stopped, making the four test machines now the only sources. The HP

Laptop and the MacBook Pro was shut down for the first phase of the test, leaving the two Dell

laptops the only sources for the first two files in the list. At this point, I provided the four torrent

files to Mr. Perino in Germany. He loaded the torrent files onto the MaverickEye UB system so

that the system could attempt to locate the known test files on the torrent network, download them,

and identify the IP address of the device responsible for distributing the files.

           26.           For the first phase of the test, the two Dell laptops were behind a firewall / DHCP

server / router and would share the same public facing, internet-routable IP address. They could

be distinguished by their port number for the connection, as well as by their bit torrent client and

version number. The time was synchronized with a time server and the public, internet-routable

address was checked and noted.

           27.           Once I was informed that the MaverickEye system (MEU) had been loaded with

the torrent files, I took the third laptop (HP Envy) to another location to use a different network

configuration. The laptop was connected to a network at which I had an account and was

configured directly with a public internet-routable IP address, such that the IP address of the laptop

itself would be exposed directly to the internet. The time was synchronized with a time server and

the public, internet-routable address was checked and noted. After running the test for a little more



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than an hour, I was informed that the MEU system had detected all three files thus far placed into

the torrent network. I shutdown the HP Envy laptop and returned to my original location where

the first two laptops were still running the torrent clients.

           28.       I connected the fourth laptop to the original network, adding a third machine to the

public IP address shared by the first two laptops. The fourth laptop was a MacBook Pro and was

sharing the fourth file. The time was synchronized with a time server and the public, internet-

routable address was checked and noted. Late in the afternoon, I was notified that all four files had

been detected by the MEU system and that the test was concluded.

           29.       Mr. Perino sent me, via email, a copy of the network packet Note 2 captures (PCAP

files) and a spreadsheet summarizing the captures. In addition, he sent me copies of the four files

that the MEU downloaded based on the torrent files that I send to him.
           Note 2
                    – Information sent over a network travels in packets. Each packet contains, among

           other data, a destination IP address, a destination port, a source IP address, and a source

           port. Thus, every packet contains what amounts to a delivery address and a return address,

           to make this somewhat analogous to the postal system by which mail travels. A stream of

           packets constituting a bit torrent download will often contain thousands of packets, each

           and every one of them containing source and destination IP addresses. As those packets

           also contain the file data of the bit torrent file, the source IP address for packets containing

           the file data itself is demonstrable evidence of the source of the file captured by the MEU

           system. A bit torrent network shares files on a peer-to-peer basis, meaning the two

           computers actually connect to each other. Hence the destination and source IP’s represent

           the two computers involved in this file sharing. Further, these packets travel via a TCP

           protocol, which is a guaranteed delivery system. If a packet sent is not acknowledged as

           received, it is sent again and again, until it either is acknowledged or times out and fails.


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           30.       For all four files, the MEU system captured the public, internet-routable IP address

for the source of the test or known files that I was sharing on the bit torrent network. I knew exactly

what the IP addresses were, as I had recorded them before and after the downloads. The IP

addresses involved were dynamic IP addresses and thus time sensitive. The ISP’s for those IP

addresses maintain logs that record which subscriber or user is assigned a particular IP address at

a particular time. Had a subpoena been served on either of the two different ISP’s used in this test,

I would have been correctly identified as the responsible subscriber / user at those exact times for

those involved IP addresses.

           31.       Further, the MEU correctly captured the exact name of the bit torrent client and

version numbers that were in use by each test computer. This capture is possible because when the

MEU first connects to the computer hosting a file to be shared on the bit torrent network, a

handshake occurs. Each machine’s bit torrent client sends a packet to the other stating, among

other things, their peer ID. Part of the peer ID is the name of the bit torrent client followed by its

version number. Table 3, below, is a copy of Table 1, above, with an added column at the right

showing the Bit Torrent client and version number as it was exchanged in the handshake. You can

see that they were correctly identified in each instance.



               Computer                        Operating System       Bit Torrent Client    Bit Torrent Client Captured by MEU

         Dell Laptop E6510                Linux Ubuntu 16.04 LTS       KTorrrent 4.3.1                KT4310

         Dell Laptop E5500                Windows 7 Professional       BitTorrent 7.10               BT71000

          HP Laptop Envy                      Windows 10 Enterprise     uTorrent 3.5.1               UT351S

         MacBook Pro 15”                 High Sierra OS X 10.13.2     Transmission 2.9.2              TR2920

           2016 Touch Bar

   Table 3 - The 4th column shows the bit torrent client and version number, as captured in the handshake, which


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                                              corresponds currently with the installed client.



           32.       As previously mentioned, the MEU captures the source port number in addition to

the source IP address, as they are parts of the ‘address’ of each packet. I confirmed that the port

numbers captured by the MEU system were accurate. I did this by spot checking packet captures

on both systems. By that, I mean that packets sent and received from a test machine are captured

as they are sent. Simultaneously, packets sent and received on the MEU system are likewise

captured. As the two machines are connected, peer-to-peer, and the MEU is downloading a file

from the test machine, the packets sent and received between the machines are the same packets

of data and are being captured simultaneously. Thus, one can examine packets from both machines

and can identify them as one and the same. I did this with several packets and this confirms

positively that the MEU is accurately reporting the source IP address and other metadata (port

numbers, client name, & client version). While making these packet comparisons, I examined the

TCP (Transmission Control Protocol) layer of the packets, wherein the port numbers are found

and noted that the port numbers are being correctly reported. Figure 1, below, shows the TCP layer

information. The top one is from a packet captured on the MEU system, showing the Destination

Port for this packet as 54702. The bottom one is from a packet captured on the Windows 10 test

laptop (HP Envy). The Destination Port for this packet is also 54702.




                  Figure 1 - TCP layers from MEU on top and Windows 10 test machine on bottom. Port numbers
                  match and are being correctly reported by MEU




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They are identical and should be for the connection to have been successful. Packets are sent back

and forth during a file sharing exchange, regardless of which party is downloading. In this case,

the MEU is requesting a segment of the file that is being shared by this machine and identifies it

by an index number. The Windows 10 test laptop (HP Envy) machine is using port 54702 for its

client (UTorrent) to share files. So, when the MEU sends the request to the Windows 10 test

machine, the destination port is 54702. When the Windows 10 test machine sends a packet to the

MEU, the Windows 10 machine then becomes the source for the packet and thus the port would

be listed as the source port. Thus, the MEU network packet captures are correctly reporting the

port on the computer hosting the shared file that is also being identified by its IP address. As the

MEU system is obtaining the port information from the network packets and, since the packets are

reporting correctly (matching on both sides of the transmission), the summary report from

Mr. Perino is listing port 54702 for this particular download is, as to be expected, correct and

accurate.

           33.       In addition to providing PCAP network capture data, the MEU also stores and

produces what are called PCAP event reports. These reports summarize the captured network

packet data, making it easier to visualize the network transactions. For the test data, I have

reviewed the entries in the PCAP event reports and compared them to their corresponding PCAP

network capture data. I found that the data in former accurately represents, in summary form, the

data contained in the latter.

           34.       Whenever the MEU was connected to my torrent clients to download from them,

never did I see it offer any portion of the file to share. At all times it listed it as 0% available when

using the inspector to look at connected peers. At one point after the regular test was concluded, I

allowed one test machine to download all four files so they could be shared and subsequently

detected by the MEU again, this time via a VPN. At that point, minimally, those four files were


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present on the one source machine on my network and also on the MEU, as all four had been

detected and downloaded onto the MEU software. Since I was requesting those same files, were

the MEU sharing files it has downloading, it would have responded as a normal torrent client

would have responded and allowed my client to download them. The MEU did not connect and

provide any download to my test laptop that was seeking those four files for download. Rather,

they were downloaded only from sources within my local network of test machines. Thus, based

on the observation I made during a test, I agree with Mr. Perino’s description of the MaverickEye

software in that it only downloads from clients offering files to share and does not share any files

in return.

           35.       To protect my privacy and to preserve the integrity and confidentiality of the MEU

system, no IP addresses for those systems are being specified in this declaration nor are any screen

captures of those IP addresses by shown.

           36.       As previously stated, Mr. Perino provided copies of the test or known files that

were downloaded from the test machines by the MEU system. I examined those files and, on visual

inspection, I identified them as the same files that I had prepared for this test. I looked inside the

files and noted that the metadata was still present exactly as I had inserted the data, including my

name. Next, I hashed the known or test files provided by Mr. Perino using both MD5 and SHA1

hashing algorithms. I compared the hashes from the MEU download to the hashes in the original

set and found them to be identical. Thus, the files downloaded by the MEU from the test machines,

via the bit torrent (peer-to-peer) network were identical, bit-for-bit copies of the original source

test or known files.

           37.       I have concluded, based on this test, that the MaverickEye UB (MEU) infringement

detection software works and accurately identifies the IP address of the device responsible for

sharing of a particular file on the bit torrent network and the exact time of the violation. The MEU


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connects to the computer hosting a file that is being shared, peer-to-peer (computer-to-computer).

The MEU downloads that file or portions of that file. In our test case, it downloaded the entire file

from the test machines, as they existed nowhere else. The files downloaded by the MEU from the

test machines were identical in all regards. The hash values matched, proving they were bit-for-

bit, identical copies. The MEU captures and retains the network packets involved in the file sharing

process, as such network packet captures were made and provided to me as part of the test. Those

network packets contain, among other data, the actual data (shared file content) from the machine

that is sharing the file, along with the IP address of the computer sharing that data. MEU will, in

fact, often capture hundreds or thousands of packets of data, with each and every packet identified

by and containing the violator’s IP address, bit torrent sharing port, bit torrent client, and bit torrent

client version. Each packet captured will contain the exact time that the packet was transmitted.

Per Mr. Perino’s expert report, MEU’s time is being synchronized with an atomic clock for

accuracy. The MEU will not capture every file being shared on the bit torrent network, but for

those it is configured to monitor and does capture, that data capture will, in my opinion and based

on my testing, accurately identify the public facing, internet-routable IP address of the device

sharing that file, as well as the exact time the file was shared. Likewise, it will, in my opinion and

based on my testing, also identify the port used by the bit torrent client on the internet facing device

if not the computer itself, the actual name of the bit torrent, and the version number of that bit

torrent software. Furthermore, based on my testing, the MEU performed accurately regardless of

the operating system or the torrent client being used.

           38.       Based on a combination of my testing and of my understanding of the features and

function of the MEU system, having read Mr. Perino’s expert report on the MEU system, I am of

the opinion that it was designed to maintain the accuracy and integrity of the evidence throughout.

For example, as per Mr. Perion’s export report, the MEU:


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                • Captures and retains the actual network packets whereby a file is downloaded from

                      a copyright infringement violator. As noted previously each and every one of those

                      packets identifies the source IP address of the violator and the exact time.

                • Said captures are stored on a WORM drive. A WORM drive is a Write Once, Read

                      Many drive, meaning once the evidentiary network packets are written to the drive,

                      they cannot be altered, thus maintaining evidentiary integrity.

                • WORM drives containing evidence are stored in a vault

                • A log is automatically maintained of each copyright infringement violating

                      download that occurs

                • Time accuracy is maintained by synchronization with an atomic clock

                • MEU is housed in an ISO/IEC 270001:2013 compliant datacenter

                • MEU complies with the PCI security specification

           39.       As to the possibility of the MEU yielding false positive, I have read Mr. Perino’s

expert report, specifically section B, items 26, 27, 28, and 29, which deal with “TCP/IP

Connections cannot be spoofed and cannot yield false positives.” I concur with his statements in

26, 27, 28, and 29.

           40.       With regard to item 26, it is important to understand that the bit torrent protocol is

a peer-to-peer file sharing protocol. Peer-to-peer means just that, a computer-to-computer

connection. This means that files or portions of files are shared by direct connections between

computers. When a direct connection occurs and packets are exchanged, the destination and source

IP addresses of the two connected computers are found in the packets that are exchanged. They

must be for the connection to be established and the stream of packets containing the file segments

to transmit. Each and every packet contains the IP address of the sender and receiver (source and

destination) and this goes for every packet involved in the transaction, not just those containing

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data. The TCP protocol is, as previously mentioned, an assured delivery system in that packets

sent must be acknowledged as received. All the traffic associated with that acknowledgement

process also must contain the IP addresses of the sender and receiver.

           41.       With regard to item 27, IP spoofing can be done by an experienced network

specialist. Specially crafted network packets can be used to create denial of service attacks, but

these packets are small and usually involve repeatedly sending the same small crafted packet over

and over again, creating a flood of messages that results in a denial of service attack. Creating a

few small, specially crafted packets that are sent repeatedly is a completely different task than

trying to do so for a bit torrent stream, where tens of thousands of packets, mostly all different, are

involved.

           42.       With regard to item 28, Mr. Perino is accurate in his assessment of complexities

and enormity of the task that would be involved in trying to do an IP spoof of a bit torrent stream.

In a practical sense, a very technically adept person would have to know a victim’s IP address.

This person would have to physically connect a computer into the same network segment as the

intended victim in order to intercept the network traffic involved. Doing so would involve

considerable knowledge and skills, in and of itself, and could involve illegal access to a building

or ISP network equipment. The person would need to have the file in question on their computer,

be sharing it using bit torrent software, and have some software or code capable of or rewriting

tens of thousands of bit torrent packets on the fly, as any delay could cause a time-out. While many

things are theoretically possible, I am unaware of any such software being available. Such an

endeavor would involve tremendous effort and resources. In addition, the person would have to

know that a particular file was being monitored for copyright infringement downloading. And

finally, such a person would have to have a very strong motivation to undertake such a task and to




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target a particular person and/or IP address. Considering all that would be involved in such an

endeavor, it is so unlikely to occur as to be nearly impossible, as Mr. Perino states.

           43.       With regard to item 29, often IP spoofing, as described above, is interpreted or

confused by many, including Google’s search engine, with IP address hiding. If you search for “IP

spoofing software,” you will find most of the hits will involve VPN (Virtual Private Network)

software. VPN software allows the user of a computer to create an encrypted tunnel to a VPN

server from which the internet traffic emerges unencrypted. The VPN server’s internet facing IP

address also becomes the user’s public internet-routable IP address. It acts as a proxy and is your

frontend IP or point of presence IP on the internet. All network traffic between the user and the

VPN server is encrypted. VPN’s are intended for privacy of a user’s internet traffic and also for

protecting the identity of their IP address. A proxy server is similar in function to a VPN server.

The major difference is that there is no encrypted tunnel between the user and the proxy server.

The proxy server still serves, however, as the user’s frontend IP or point of presence IP on the

internet. A proxy server is not as secure as a VPN server because there is no encrypted tunnel. A

proxy server is, however, faster than a VPN server because encryption requires time resources to

achieve and results in slower network speeds, all other things being equal. If a VPN or a proxy

server is used to engage in bit torrent file sharing, the MEU will see the source IP of the infringer

as the public facing, internet routable IP address that of the VPN or proxy server, as that is the

user’s IP address, by proxy. This is not a false positive by any definition. Rather, the MEU is

capturing packets that contain the source IP for the file as that of the VPN or proxy. When a VPN

or proxy is being used, MEU can only trace the connection to the front-end or public-facing,

internet routable IP address, which is accurate to that point. To obtain the IP of the user behind the

VPN or proxy who is responsible for download, the VPN or proxy server owner or manager would

have to be contacted. If they maintain logs, and many quite intentionally do not, the connection to


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the source can then be identified through the subpoena process. Because the front-end interface to

the MEU used by plaintiff’s counsel only has filters for known ISP’s (Comcast, Verizon, AT&T,

etc), IP addresses for VPN’s and Proxy services are not in those filtered groups and will not be

visible.

           44.       With regard to item 29, I conducted a separate test, after concluding the one

described above whereby I configured one laptop (MacBook Pro – High Sierra) with a VPN

service. With the VPN enabled, I launched Transmission (bit torrent client) and shared all four test

or known files. I noted the public, internet-routable, frontend IP address in use by the test computer.

After running this bit torrent configuration overnight using the VPN service, Mr. Perino reported

to me that the MEU captured and downloaded the known or test files from the IP address that I

had recorded for the computer. It was, as expected, the IP address of the VPN server. Thus a test

of the scenario, as described by Mr. Perino in item 29, it absolutely correctly stated and accurate.

           45.       When a user adds a torrent file for a file that they want to download, the “Trackers”

that are included in the torrent file actively work to connect torrent clients that have either all or

parts of a requested file with those seeking those files. In doing so, the IP addresses and port

numbers, along with other metadata are shared, visible, and otherwise made public within that

‘swarm’ of torrent users. It is by this mechanism of identifying each computer in the swarm by its

IP address and port number that computers in the swarm can connect directly to one another and

share parts of the file. It is also by this mechanism that MEU system can see the public IP addresses

and port numbers of copyright infringers and connect directly with them to download files and

capture evidence of copyright infringement. Such a process is akin to going to a coffee shop and

asking if anyone in the room has sugar on their table, as you do not. Perhaps you want 6 packets

of sugar and you need a a packet or two from several tables to get your 6 packets. The conversations

that take place during this discovery and sharing process are very much out in the public for all in


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the coffee shop to hear. There is no expectation of privacy when such a request is made. Anyone

in the coffee shop can see who you are and hear what it is that you are requesting. The swarm

works much the same way. Once you announce that you want a file, the trackers in that torrent file

being asking other users if they have that file, sharing your IP and port, and thereby facilitating the

download of segments of the requested file from many users in the swarm. It matters not where

the various torrent clients are located, as the internet is global and crosses nearly all country

boundaries. In this case, the MEU happens to be in Germany, but could be anywhere. The simple

fact is that if you wish to join a peer-to-peer, file-sharing network, you have to share your IP

address and port with those in that public pool of persons doing likewise. You are agreeing to and

consenting to allowing others to connect to your computer in order that you can exchange files. As

with asking for a packet of sugar in a crowded coffee shop, those in a swarm will hear your request

and know who you are by your public routable IP address.

           46.       In Mr. Perino’s expert report, in number 44, he defines what Bitfield is within the

context of the bit torrent network. Each shared file is divided into 16 KB segments or blocks and

is shared in increments of 16 KB segments. If a file consists of 5,000 segments and a user had

2,500 segments, that user has 50% of the file and would show a Bitfield value of 50%. When I

conducted the test, each of the four laptops had one of each of the four files in its entirety (100%)

on each of the laptops. The summary report provided by Mr. Perino after the test showed that the

MEU system accurately detected that each of the four files had a Bitfield value of 100%, meaning

each laptop had the entire test or known file.

           47.       Attached hereto as Declaration Exhibit 1 is a true and accurate copy of my

Curriculum Vitae which truly and accurately represents my relevant employment history, training,

experience, certifications, and expert-witness experience.




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           48.        I am paid on an hourly basis by Voltage Pictures, LLC at the rate of $250 / hour for

my digital forensics services.



FURTHER DECLARANT SAYETH NAUGHT

                                                 DECLARATION

PURSUANT TO 28 U.S.C SS 1746, I hereby declare under penalty of perjury that the foregoing

is true and correct.



Executed June 11, 2018.

                                       By: ________________________________
                                            ___________
                                                     _ _________________
                                                                      _______

                                                Stephen M. Bunting




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